Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 1 of 65 PageID# 82711




                             Exhibit E
    (previously filed as Dkt. 660-5)
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 2 of 65 PageID# 82712




                                    UNITED STATES DISTRICT COURT
                                    EASTERN DISTRICT OF VIRGINIA
                                        ALEXANDRIA DIVISION




       United States of America, et al.,

                                           Plaintiffs,
                                                               Case No. 1:23-cv-00108-LMB-JFA
       v.
                                                               Hon. Leonie H. M. Brinkema
       Google LLC,

                                           Defendant.




                         EXPERT REBUTTAL REPORT OF ROBIN S. LEE, PHD



                                                   February 13, 2024




      HIGHLY CONFIDENTIAL
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 3 of 65 PageID# 82713
        Expert Rebuttal Report of Robin S. Lee, PhD




        competitive constraint to prevent Google (or a hypothetical monopolist) from exercising significant
        market power over publisher ad servers, ad exchanges, or advertiser ad networks for open-web
        display advertising. Dr. Israel has failed to demonstrate that this is the case for any product excluded
        from the relevant markets defined in my initial report.


        IV.A.2. Assessments of substitution among ad tech products at prevailing
        prices can succumb to the “Cellophane Fallacy”

 (72)   Dr. Israel and I agree that market definition focuses on customer substitution.116 However, as is
        commonly understood by economists, assessing substitutability between products for the purposes of
        market definition when it is possible that prevailing prices already exceed competitive prices risks
        overstating the significance of more distant substitutes.117 This is because at elevated prices,
        customers would more likely substitute to alternatives that would not otherwise have been close
        substitutes at more competitive prices. Ignoring this point is commonly known as the “Cellophane
        Fallacy,” and can lead to markets that are misleadingly broad for the purposes of evaluating market
        power.118

 (73)   Dr. Israel argues that the Cellophane Fallacy “does not eliminate the need to assess evidence of
        customer substitution as part of the market definition inquiry in this case.”119. Although customer
        substitution is important to consider, for the purposes of the HMT, it is substitution at competitive
        price levels that informs whether a hypothetical monopolist can exercise market power. When there is
        valid concern (and direct evidence) that prices for products have already been subject to the exercise
        of significant market power, there are categories of evidence other than substitution patterns at
        prevailing prices that inform whether a market contains enough close substitutes to pass the HMT.120




        116 Lee Initial Report, ¶ 247; Israel Report, ¶ 153 (“Economists assess reasonable interchangeability from the perspective of
            the customer(s) (here advertisers and publishers) and thus the market definition exercise typically depends on demand-
            side substitution (i.e., substitution across ad tech tools by advertisers and publishers in response to relative changes in
            price and/or quality).”).
        117 Lee Initial Report, ¶ 251 (“[C]ontrast, for monopolization claims, the HMT considers customer substitution patterns at

            the benchmark of competitive prices. This is because an important concern is that prevailing prices may already reflect
            the exercise of substantial market power by the alleged monopolist. At such elevated prices, consumers would likely
            substitute away from the alleged monopolist’s products to alternatives were the alleged monopolist to impose a further
            price increase—even if those alternatives are not close substitutes for the alleged monopolist’s products were the
            monopolist’s products priced more competitively. When there is a concern that prevailing prices (or product qualities)
            depart significantly from those that would otherwise obtain in a more competitive environment, relying on observed
            customer substitution patterns at existing price or quality levels risks overstating the competitive significance of more
            distant substitutes that customers only turn to after a set of products has already been monopolized.”). (emphasis in
            original).
        118 Lee Initial Report, n. 340.

        119 Israel Report, ¶ 167.

        120 Lee Initial Report, ¶¶ 253–254.




        HIGHLY CONFIDENTIAL                                                                                                    Page 27
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 4 of 65 PageID# 82714
        Expert Rebuttal Report of Robin S. Lee, PhD




 (74)   Nonetheless, Dr. Israel attempts to dismiss these concerns. First, he asserts that I have failed to
        establish that “prevailing prices exceed competitive levels” for the products at issue in this matter.121
        Given substantial evidence that Google has indeed levied supracompetitive prices on its ad tech
        products for years,122 Dr. Israel does not support this claim (see further discussion in Section V).

 (75)   Dr. Israel also states that “[a]dvertisers seek to attract the attention of users wherever it can be found.
        There is no reason to think that this objective holds only at ‘high’ prices for open web display
        advertising.”123,124 This statement seemingly (and incorrectly) assumes away the Cellophane Fallacy
        issue by implying that because buyers’ general objectives do not change at different price levels, their
        substitution patterns between products do not change at different price levels. This error in this logic
        can be seen by considering the DuPont case in which the “Cellophane Fallacy” terminology
        originated.125 In that case, the Court found that buyers viewed non-cellophane wrapping materials as
        close substitutes at prevailing, supracompetitive prices, which would likely not have been the case at
        more competitive prices.126 Though their presumed objective of wrapping their products the most
        efficient way possible would not change with relative prices, the choice of a particular wrapping
        material would. Similarly, even though advertisers generally try to attract the attention of users
        regardless of the relative prices of different forms of advertising, their choices among different forms
        of advertising tools—and thus observed substitution patterns—are impacted by their relative prices.

 (76)   Hence, Dr. Israel’s reliance on documented or estimated customer substitution patterns at prevailing
        price levels overstates the extent to which customers would substitute among products at more
        competitive levels.127


        121 Israel Report, ¶ 167 (“First, as I explain in Sections VIII.A.2 and Section IX.B.1 below [sic] neither Prof. Lee nor
            Plaintiff’s other experts have established that the challenged conduct elevated the fees associated with the full ad tech
            stack and thus have not established that ‘prevailing prices exceed competitive levels.’”). Note that Dr. Israel mistakenly
            believes that market definition requires establishing that “the challenged conduct elevated the fees”, or that “substitution
            absent the challenged conduct” is what is relevant for market definition. Israel Report, ¶167. This is incorrect as well:
            the benchmark set of prices for the purposes of market definition and performing the HMT are competitive prices, which
            do not depend on the conduct being scrutinized.
        122 See Lee Initial Report, § V.

        123 Israel Report, ¶ 168 (“Advertisers seek to attract the attention of users wherever it can be found. There is no reason to

            think that this objective holds only at ‘high’ prices for open web display advertising.”).
        124 In this statement and throughout his report, Dr. Israel focuses on advertiser substitution but not publisher substitution,

            the latter of which can be insufficiently elastic to constrain the market power of a hypothetical monopolist (or Google).
            See discussion in Section IV.A.3.
        125 United States v. E.I. du Pont de Nemours & Co., 351 U.S. 377 (1956).

        126 Gene C. Schaerr, “The Cellophane Fallacy and the Justice Department’s Guidelines for Horizontal Mergers,” Yale Law

            Journal 94 (1985), n. 52 (“Recall that the prevailing price for cellophane was arguably supra-competitive, and that at
            that price consumers regarded a number of other flexible wrapping materials as good substitutes for cellophane…If
            consumers regarded these other products as good substitutes for cellophane at the prevailing, supra-competitive price,
            then they probably would not have regarded them as good substitutes if cellophane were priced competitively.”).
        127 See, e.g., Israel Report, ¶¶ 235 (“Prof. Simonson’s survey also demonstrates that advertisers and the agencies that work

            on their behalf would shift spend to walled gardens in response to an increase in the cost of display advertising.") and
            287 (“In particular, if Google were to raise the price of its ad exchange, alternative advertising channels would become
            relatively more attractive.”).



        HIGHLY CONFIDENTIAL                                                                                                    Page 28
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 5 of 65 PageID# 82715
        Expert Rebuttal Report of Robin S. Lee, PhD




        I may be in some sense “multihoming” across types of tools—but this is not because they are
        necessarily substitutes. Even though on some jobs they may be (imperfectly) substitutable, I have
        them both in my toolbox because each is well-suited to a particular type of job. To take another
        example, many people own both a smartphone and a television—that is, they “multihome” on devices
        with digital screens. But although one can watch a movie on both devices (and hence they are
        imperfect substitutes for some tasks), this does not mean that a hypothetical monopolist of televisions
        would necessarily be constrained from charging higher than competitive prices by customer
        substitution to smartphones.131

 (82)   Thus, multihoming itself does not alone provide conclusive evidence of substitution between
        products.132 One must also consider the reason for the multihoming before attempting to reach such
        conclusions. If multihoming occurs because one needs multiple tools that serve different functions,
        then multihoming can be consistent with a lack of substitutability.

 (83)   An example of this can be found, for example, in Dr. Israel’s Figure 13, which shows that 22–31% of
        survey respondents used “four or more” ad buying tools. Such ad buying tools may include advertiser
        ad networks and DSPs, tools facilitating different ad formats (video, social media), and integrated ad
        tech tools used to purchase “owned and operated” publisher inventory. Hence, without further
        context, this result merely indicates that some advertisers have many tools in their toolbox, not that
        those tools are necessarily substitutes.133

 (84)   In summary, multihoming is not “binary”—for understanding whether observed multihoming
        behavior across products is indicative of those products being substitutes, it is important to also
        consider:

        ◼     The extent to which products provide different functionalities to customers. For example, as I
              discussed in my initial report and below in Section IV.E, some large advertisers use both Google




        131 As yet another example, I may buy a bag of potato chips in a given week from both a grocery store and a gas station—
            thus, in a sense, “multihoming” across food stores. But if I suddenly could not access a grocery store, my ability to shift
            my food spending to gas stations will be limited.
        132 I discussed this issue in my initial report with respect to different forms of digital advertising Lee Initial Report, ¶¶ 285–

            289. In my initial report, I also noted that increased multihoming and switching costs can damage competition and
            efficiency because it makes “more costly for customers to move away from a given firm’s products or to use rivals’
            products in addition” in the event that a firm attempts to exercise market power (Lee Initial Report, ¶ 190). Note that in
            this discussion, customers may choose to multihome because they are substituting to alternative products when faced
            with higher prices. However, this discussion does not mean that all observed instances of multihoming arise from
            substitution.
        133 I also understand that Prof. Hoyer has identified flaws in Prof. Simonson’s survey upon which Dr. Israel relies (see

            generally Hoyer Report, § III). With respect to this question, I understand Prof. Hoyer concludes that what Dr. Israel
            describes as “multi-homing” may include respondents who tested and rejected a particular tool or for whom tools are
            viewed as complementary rather than as alternatives. See Hoyer Report, § III.E.



        HIGHLY CONFIDENTIAL                                                                                                       Page 30
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 6 of 65 PageID# 82716
        Expert Rebuttal Report of Robin S. Lee, PhD




        not mean tools that do not transact open-web display advertising must be contained within the same
        relevant antitrust market as publisher ad servers, ad exchanges, or advertiser ad networks that do.

 (88)   For instance, the rise of air travel displaced some amount of train travel, but today airline markets are
        routinely analyzed excluding trains or other forms of transportation because they serve distinct
        purposes, even though some consumers may use both at different times. Similarly, the displacement
        of “feature phones” and landline phones by smartphones does not mean that a smartphone market
        alone would not pass an HMT.


        IV.A.6. Dr. Israel fails to rebut the role of direct evidence of market power for
        establishing relevant markets

 (89)   In this case, Google has exercised significant market power in each of the relevant product markets
        that I discussed in my initial report—publisher ad servers, ad exchanges, and advertiser ad networks
        for open-web display advertising—without causing enough substitution to alternative products to
        make such an exercise unprofitable. Direct evidence of this behavior indicates that these are relevant
        product markets: because Google was able to profitably exercise market power over these products
        despite the possibility of substitution to alternative products, a hypothetical monopolist that controlled
        Google’s products as well as rival products in the market would also find it profitable to do so.138

 (90)   I discussed this direct evidence in my initial report,139 and also provide more discussion—including a
        summary of evidence that Dr. Israel fails or acknowledge or rebut—in Section V below.

 (91)   Direct evidence of Google’s substantial market power within the relevant markets leads to two
        additional implications. First, it indicates that Google can charge quality-adjusted prices significantly
        above competitive levels, even without precisely specifying what those competitive levels are. This is
        useful because competitive prices are typically difficult to ascertain in markets that have already been
        monopolized, or subject to the exercise of significant market power by market participants, for an
        extended period of time. Second, it also demonstrates that potential constraints imposed by indirect
        network effects do not prevent Google—nor a hypothetical monopolist within each market—from
        charging quality-adjusted prices above competitive levels.140

 (92)   In response to the above, Dr. Israel asserts that “even taking ‘direct’ evidence as given, such evidence
        establishes at most that there is some market power in some relevant market. It does not establish the
        existence of monopoly power, nor does it support the existence of a specific relevant market.”141 Dr.
        138 Lee Initial Report, ¶ 254.
        139 Lee Initial Report, § V.
        140 Thus, Dr. Israel is incorrect in claiming that my discussion of the product markets at issue do not account for two-

            sidedness and network effects. See also, Section III and Lee Initial Report, § III.B and n. 239.
        141 Israel Report, ¶ 160. I address Dr. Israel’s failure to support his claim that I do not “establish that Google possesses

            monopoly power in any relevant market” below in Section V.



        HIGHLY CONFIDENTIAL                                                                                                      Page 32
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 7 of 65 PageID# 82717
        Expert Rebuttal Report of Robin S. Lee, PhD




        Israel is incorrect. First, for the purposes of market definition, it is sufficient to show that a
        hypothetical monopolist that owned all products would likely possess enough market power to
        profitably implement a SSNIP; establishing that only one participant possesses monopoly power,
        which is a higher bar and generally associated with substantial and sustained market power protected
        by significant barriers to entry, is not a necessary criterion for defining a relevant product market.142
        Second, the direct evidence I provide does indicate that Google possesses substantial market and
        sustained market power in the relevant markets at issue (see Section V below), and is thus more than
        sufficient to satisfy the HMT.


        IV.B. Open-web display advertising is a distinct and important form of
        advertising for publishers and advertisers, indicating that customer
        substitution would not constrain the exercise of market power in the
        relevant markets
 (93)   In my initial report, I defined relevant product markets for publisher ad servers, ad exchanges, and
        advertiser ad networks.143 Each of these product markets contain ad tech tools that are used to
        transact open-web display advertising. In these transactions, Google or other ad tech intermediaries
        are sellers, and there are two sets of distinct customers: advertisers (on the demand-side) and open-
        web publishers (on the supply-side).144

 (94)   I also discussed why—even though these relevant product markets do not contain the underlying
        display advertisements themselves, and are thus distinct from a hypothetical product market
        containing open-web display advertising—it is still nonetheless useful to examine how open-web
        display advertising is an important and distinct form of advertising from the perspective of advertisers
        and publishers.145 Such analysis is informative because its clarifies why products that facilitate open-
        web display advertising transactions are particularly valued by open-web publishers and advertisers,
        and why products that do not facilitate such transactions are not close substitutes.146

 (95)   This distinction between the underlying display advertisements and the ad tech tools that facilitate
        their sale is important. One reason is that a firm that monopolizes parts of the ad tech stack can create
        a bottleneck and exercise market power even if there is a meaningful amount of digital advertising


        142 Dr. Israel’s own definition of the HMT used to define relevant markets makes no mention of monopoly power, but
            rather only that a hypothetical monopolist “that was the only present and future seller of the products in the candidate
            market… likely would impose at least a [SSNIP] on at least one product in the market, with the price increase evaluated
            relative to the competitive price that would obtain in the alleged market.” (Israel Report, ¶ 157).
        143 Lee Initial Report, § IV.

        144 Lee Initial Report, ¶ 52.

        145 Lee Initial Report, § IV.B.

        146 Lee Initial Report, ¶ 245.




        HIGHLY CONFIDENTIAL                                                                                                 Page 33
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 8 of 65 PageID# 82718
        Expert Rebuttal Report of Robin S. Lee, PhD




        flowing through other channels. Focusing on types of advertising and not the underlying tools
        obscures the potential for competitive harm.

 (96)   Another important reason that the distinction between display advertisements and the underlying ad
        tech tools matters is that the amount of substitutability between open-web display advertising and
        other forms of advertising that would be required to constrain a certain percentage increase in fees for
        an ad tech tool is different, and can be much greater, than the amount needed to constrain the same
        percentage increase in the price of open-web display advertising.

 (97)   To see why, observe first that ad tech fees represent only a portion of the total cost of open-web
        display advertising. This implies that any percentage increase in ad tech fees results in a smaller
        percentage increase in the overall cost of open-web display advertising. As an example, consider of
        an advertiser who pays $100 for an open-web display impression through an ad exchange which
        charges a 20% take rate (so that the publisher receives $80). If the ad exchange increases its take rate
        by 5% (going from 20% to 21%), then even if the fee increase was completely borne by the advertiser
        so that publisher payout remained fixed at $80, the advertiser’s cost would only increase from $100 to
        $101.27 (all else equal), representing a 1.3% increase in the price of advertising.147

 (98)   Dr. Israel and Prof. Ghose largely ignore this key distinction and blur the lines between open-web
        display advertising and the tools used to transact it. They then draw incorrect conclusions regarding
        market definition.

 (99)   For example, Dr. Israel concludes based on Prof. Simonson’s survey that “advertisers would, in fact,
        shift substantial spend to social media as well as other digital advertising channels in response to a
        small but significant increase in the cost of programmatic open web display advertising.”148 Taking
        Dr. Israel’s representation of Prof. Simonson’s survey at face value, these same advertisers would
        nonetheless likely switch to a lesser degree in response to the same “small but significant increase” in
        percentage terms applied to the cost of ad tech tools, as the total cost increase would be smaller than
        contemplated by Prof. Simonson’s survey (and would also likely be partially borne by publishers, and
        not just advertisers).

(100)   Similarly, Dr. Ghose claims “Plaintiffs’ experts underappreciat[e] the extent to which advertising
        dollars shift between Plaintiffs’ so-called ‘open-web display advertising’ and other types of display
        advertising”149 and asserts that advertisers “switch advertising spending to maximize their ROI.”150



        147 $101.27 = $80 ÷ (100% − 21%).
        148 Israel Report, ¶ 236 (emphasis added). See Section IV.B.2.b for discussion of Dr. Israel’s reliance on these survey
            results.
        149 Ghose Report, ¶ 109.

        150 Ghose Report, ¶ 112.




        HIGHLY CONFIDENTIAL                                                                                                  Page 34
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 9 of 65 PageID# 82719
        Expert Rebuttal Report of Robin S. Lee, PhD




        He does not assess the extent to which advertising dollars shift between underlying ad tech tools, nor
        the extent to which ROI would be impacted by a price increase in those tools.

(101)   Neither Dr. Israel nor Dr. Ghose explain why a significant increase in ad tech fees—even if evaluated
        at existing levels151—would generate a large enough increase in the price of display advertising for
        there to be significant substitution to other forms of advertising.

(102)   To illustrate one reason this is unlikely, consider Figure 4, which contains Semrush’s calculation of
        the average CPM for various ad types and platforms.152 As I described above, an increase in ad
        exchange fees from 20% to 21% (representing a 5% increase above already elevated levels), even if
        borne completely by advertisers, would increase ad prices by 1.27%.153 Based on the reported
        estimates in Figure 4, a 1.27% increase would raise the average CPM of desktop display ads from
        $2.50 to $2.53, still well below the cost of other forms of advertising. For example, the average CPM
        of social display ads in Figure 4 is $5.50: $3 (or 220%) more than desktop display. Dr. Israel and Dr.
        Ghose fail to explain why advertisers who chose to invest in desktop display at that price difference
        would shift a significant amount of their spend to social if the cost of desktop display was subject to a
        3 cent CPM increase, such that social display ads still cost $2.97 (or 217%) more than desktop
        display.154




        151 See Section IV.A.2 for discussion of why assessing an increase in ad tech fees at existing levels overstates the extent to
            which customers would substitute among products at competitive levels.
        152 Semrush is “a leading online visibility management SaaS platform that enables businesses globally to run search engine

            optimization, pay-per-click, content, social media and competitive research campaigns and get measurable results from
            online marketing.” Business Wire, “Semrush Holdings, Inc. Announces Investor Conference Call to Review Fourth
            Quarter 2023 Financial Results,” Business Wire, March 5, 2023,
            https://www.businesswire.com/news/home/20240206729468/en/Semrush-Holdings-Inc.-Announces-Investor-
            Conference-Call-to-Review-Fourth-Quarter-2023-Financial-Results.
        153 As I explain in Sections III, IV.A.3, and IV.B.1, it is unlikely that an increase in ad exchange fees would be borne

            completely by advertisers given the lack of close substitutes on the publisher side. To the extent some portion of the
            increase in fees was borne by the publisher, the increase in ad prices would be lower than 1.27%.
        154 Dr. Israel argues that CPM “is the wrong metric to compare” because “advertisers care about the return on investment

            (ROI) that they earn on their advertising expenditure.” Israel Report, ¶ 180. However, CPM is an input into ROI and as I
            explain in Section IV.B.2.a, the documents that Prof. Ghose and Dr. Israel cite demonstrate that advertisers currently
            invest in multiple channels of advertising at different levels of ROI (and ROAS) such that a small price increase in ad
            tech tools, and the resulting smaller increase in CPM, would be unlikely to alter ROI by a sufficiently large amount to
            cause a significant amount of substitution to other channels. Additionally, Dr. Israel’s criticism of CPM is made from an
            advertiser’s perspective; however, CPM differences across advertising formats are consistent with those formats not
            being close substitutes from a publisher’s perspective (see also Section IV.B.3, n. 301).



        HIGHLY CONFIDENTIAL                                                                                                   Page 35
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 10 of 65 PageID#
                                     82720
        Expert Rebuttal Report of Robin S. Lee, PhD




        Figure 4. Semrush analysis of “Digital Ad CPM by Ad Type & Platform”




        Source: Luke Harsel, “Advertising Trends: CPM Benchmarks by Industry [Study],” Semrush, October 23, 2023,
        https://www.semrush.com/blog/advertising-cpm-benchmarks-study/



(103)   Google’s experts also erroneously claim that certain advertising types or forms of digital advertising
        are “excluded” from the product market.155 However, this again misses the distinction between tools
        that transact advertising, and the underlying advertising itself. The relevant product markets contain
        those tools (publisher ad servers, ad exchanges, and advertiser ad networks) that transact open-web
        display advertising; such tools can also transact other forms of advertising, including direct deals, in-
        app display, and instream video ads. A product is only excluded if it cannot transact open-web display
        ads.156

(104)   What Google’s experts appear to argue (albeit not very clearly), but fail to support, is that the relevant
        product markets need to be broadened to include products that might sell other forms of digital


        155   See discussion in Section IV.B.2.c.
        156   In my market share calculations, I restrict attention to open-web display transactions even if some of these products may
              transact other types of digital advertising.



        HIGHLY CONFIDENTIAL                                                                                                    Page 36
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 11 of 65 PageID#
                                     82721
        Expert Rebuttal Report of Robin S. Lee, PhD




        advertising, even if those tools cannot transact open-web display ads. As I have discussed at length
        above and in my initial report, this is not true.

(105)   In the rest of this Section, I respond to points raised by Google’s experts regarding key distinctions
        between open-web display and other forms of digital advertising from both publishers’ and
        advertisers’ perspectives. The discussion at times will focus on the underlying display advertisements,
        even though (again) the products within the relevant markets are ad tech tools. I also describe why
        indirect transactions for open-web display advertising also provide distinct value to open-web
        publishers and advertisers. For the reasons discussed below, the criticisms raised by Google’s experts
        do not undermine the appropriateness or validity of the relevant product markets defined in my initial
        report.157


        IV.B.1. Publisher perspectives on open-web display advertising

(106)   Dr. Israel and Prof. Ghose focus on advertisers’ ability to reallocate spend away from open-web
        display advertising but say little (Dr. Israel) or nothing (Prof. Ghose) about open-web publishers’
        abilities to substitute.

(107)   As I explained in Section III and IV.A.3 above and my initial report, focusing on advertiser
        substitution alone is not sufficient to demonstrate that a hypothetical monopolist could not exercise
        market power over a set of ad tech tools; it is necessary to also consider open-web publishers’
        (limited) ability to substitute away from such tools.

(108)   In my opening report, I explained that publishers that monetize their web inventory via open-web
        display advertising have limited ability to substitute away to other forms of advertising or
        monetization in response to an exercise of market power by a hypothetical monopolist of certain ad
        tech products. Google’s experts do not address most of these limitations:

        ◼     Open-web publishers’ ability to shift advertising sales away from their web content is limited by
              the content they provide. For example, digital content providers cannot monetize impressions on
              their web properties by selling offline advertising.158 Similarly, in-app ads cannot monetize a
              publisher’s web inventory.159

        157 Dr. Israel claims that “open web display advertising” is an artificial term and that an OpenX study that I cite includes
            apps in the definition of open web. Importantly, markets are defined by economic principles, not industry studies. Lee
            Initial Report, n. 331. Nevertheless, the OpenX study is not inconsistent with my market definition where I excluded ads
            sold on O&O properties and ads sold using integrated ad tools. The OpenX study uses the term “open web” to label
            “website[s] or app[s] that are not owned by a major technology company (Facebook/Instagram, Amazon, YouTube).”
            Israel Report, ¶ 93, n. 29 (“In fact, as supposed support for the claim that ‘open web display advertising’ is distinct from
            advertising on apps, Plaintiffs’ expert Prof. Lee cites to a study that explicitly includes apps as part of ‘the open web,’
            yet he still fails to recognize competition from apps in his market definitions.”).
        158 Lee Initial Report, ¶¶ 268–270.

        159 Lee Initial Report, ¶ 275.




        HIGHLY CONFIDENTIAL                                                                                                     Page 37
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 12 of 65 PageID#
                                     82722
        Expert Rebuttal Report of Robin S. Lee, PhD




        ◼     Instream video ads occupy different parts of a publishers’ digital ad inventory (e.g., shown in a
              video player vs. shown in a “banner” ad at the top of the page).160 Observed price differences are
              consistent with instream video and display ads not being close substitutes from a publisher’s
              perspective—otherwise publishers would likely be expected to re-allocate their display
              advertising space to instream video to take advantage of the higher monetization rate.161
        ◼     Native ads are typically used in combination with display ads and occupy slots within, rather than
              above and around, publishers’ content.162
        ◼     Adopting a new monetization strategy for open-web content (e.g., subscriptions) instead of
              relying at all on display advertising would be costly and forgo a valuable source of revenue.163
        ◼     For most open-web publishers, developing an integrated ad tech product would be costly and time
              consuming, require overcoming indirect network effects, and would limit access to advertiser
              demand.164

(109)   A 2020 presentation describing a survey of publishers relied upon by Dr. Israel corroborates that
        publishers view these categories as distinct. As shown below, the presentation identifies separate
        categories for “Display,” “Video,” “Native,” “Social,” “Advanced TV,” and “All other media types”
        and notes that “[d]isplay continues to deliver the greatest share” (see Figure 5).165 On another slide,
        the presentation distinguishes among platforms of “Desktop,” “Mobile web,” “Mobile in-app,”
        “Advanced/CTV,” and “All other platforms” with mobile web and desktop having the greatest shares
        (see Figure 6).166




        160 Lee Initial Report, ¶ 272.
        161 Lee Initial Report, ¶¶ 273–274.
        162 Lee Initial Report, ¶ 276, noting also that there are quality issues (e.g., “clickbait ads”) with certain forms of native ad

            that limit their use by publishers.
        163 Lee Initial Report, ¶ 266.

        164 Lee Initial Report, ¶ 281.

        165 GOOG-DOJ-AT-00608572, at -614 (2020).

        166 GOOG-DOJ-AT-00608572, at -613 (2020).




        HIGHLY CONFIDENTIAL                                                                                                       Page 38
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 13 of 65 PageID#
                                   82723
    Expert Rebuttal Report of Robin S. Lee, PhD




    Figure 5. Excerpt from Advertiser Perceptions "SSP Report"




    Source: GOOG-DOJ-AT-00608572 at -614 (2020).


    Figure 6. Excerpt from Advertiser Perceptions "SSP Report"




    Source: GOOG-DOJ-AT-00608572 at -613 (2020).




    HIGHLY CONFIDENTIAL                                                 Page 39
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 14 of 65 PageID#
                                     82724
        Expert Rebuttal Report of Robin S. Lee, PhD




(110)   Dr. Israel’s discussion of publishers substituting away from open-web display advertising is limited to
        speculation that “if one or more publisher ad servers focused on display advertising for open web
        publishers degrades…publishers have options that include focusing more attention on other formats
        for content, including app-based options.”167 I address Dr. Israel’s hypothesized example of publisher
        ad server substitution in Section IV.C.1.

(111)   So while it is true that publishers may find it valuable to deploy multiple forms of digital advertising
        or transaction types within their “monetization toolbox,”168 web display advertising has distinct
        features and value that make it an important form of advertising—i.e., it is an important tool in the
        toolbox. Hence, open-web publishers would be unlikely to substitute away to a sufficient degree from
        products that transact display advertising to constrain the exercise of market power by a hypothetical
        monopolist of publisher ad servers, ad exchanges, or advertiser ad networks.


        IV.B.2. Advertiser perspectives on open-web display advertising

(112)   Dr. Israel asserts that my focus on open-web display advertising “excludes important alternative
        sources of advertising inventory to which advertisers could turn if the cost of open web display
        advertising increase” including “integrated advertising tools, in-app, instream video, and native
        advertising.”169 Prof. Ghose argues that advertisers “reallocate their advertising budgets more
        efficiently and in real time across different types of advertising formats, devices, and properties” and
        that this “undermines [my] opinion that open-web display advertising is differentiated.”170

(113)   I do not dispute that many advertisers use multiple forms of digital advertising, or that advertisers can
        substitute across channels on the margin. Nevertheless, as with a hammer and screwdriver, advertisers
        can use multiple forms of advertising to achieve different objectives even if those forms may be
        potential substitutes for certain tasks.

(114)   However, with regard to the arguments made here, Google’s experts fail to apply the economic
        principles articulated by the HMT to determine whether a relevant product market is too narrow.

(115)   First, Dr. Israel and Prof. Ghose do not recognize that advertiser substitution alone, without
        consideration of publishers’ ability to substitute, would be insufficient to conclude that alternative


        167 Israel Report, ¶ 298. Dr. Israel also suggests that within open-web display advertising, publishers could shift from
            indirect to direct transactions. Israel Report, ¶ 278. In Section IV.B.4 of my initial report and Section IV.B.3 of this
            report I explain why indirect transactions provide additional distinct value to publishers compared to direct transactions.
        168 Lee Initial Report, § IV.A.2.

        169 Israel Report, ¶ 217–218.

        170 Ghose Report, ¶ 91. As a matter of economics, customer substitution—even if potentially immediate or in real time—

            does not “undermine” the existence of product differentiation. I also understand that Prof. Wilbur concludes that Prof.
            Ghose’s claims about the interchangeability of different digital advertising formats and properties are incorrect. See
            Expert Rebuttal Report of Kenneth Wilbur, Ph.D., February 13, 2024 (hereinafter “Wilbur Report”), § III.



        HIGHLY CONFIDENTIAL                                                                                                    Page 40
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 15 of 65 PageID#
                                     82725
        Expert Rebuttal Report of Robin S. Lee, PhD




        forms of advertising could constrain the exercise of market power of a hypothetical monopolist over
        publisher ad servers, ad exchanges, or advertiser ad networks.171

(116)   Second, they fail to establish that advertisers view alternative forms of advertising as sufficiently
        close substitutes so that they would shift enough of their spending to different advertising channels to
        constrain a hypothetical monopolist of a single ad tech component (publisher ad servers, ad
        exchanges, or advertiser ad networks) from exercising market power, even if all ad tech fee increases
        were passed through to advertisers (which is unlikely to be the case, given the limited ability of
        publishers to substitute away from open-web display advertising tools).

(117)   There is evidence to the contrary. For example, GroupM’s Susan Schiekofer was asked in deposition,
        “If an exchange increases its display open auction take rates from 20 percent to 21 percent, would
        GroupM be more likely to try to shift impressions to another exchange, or to another type of
        advertising like insertion order-based display ads or social?” She replied “Unlikely to make big
        changes based on that unless there was some drop-off in performance.”172 Note that this question
        discusses substitution at AdX’s prevailing prices (20%) which are higher than competitive levels and
        is therefore stronger than evidence needed to satisfy a hypothetical monopolist test. If advertisers are
        unlikely to divert a significant amount of impressions in response to an increase on prices that are
        already at supracompetitive levels, it follows as a matter of economics that they would be even less
        likely to divert impressions in response to a price increase from competitive levels.

(118)   Additionally, direct evidence of Google’s exercise of market power over its ad tech products is a
        strong indicator that customer substitution alone would be insufficient to constrain a hypothetical
        monopolist in each of the relevant markets from exercising its own market power.173

(119)   Prof. Ghose also points to numerous factors that “guide [advertisers’] budget reallocation decisions,
        such as CTRs, ad placement profitability, changes in consumer preferences, seasonal trends in
        product demand, and/or industry innovations that offer new opportunities for effective ad delivery.”174
        He does not discuss why a price increase on the cost of using ad tech tools (which is unlikely to be
        fully borne by advertisers) would generate changes in advertising costs of sufficient magnitudes to
        alter advertisers’ decisions.

(120)   I next turn to specific arguments and examples Dr. Israel and Prof. Ghose offer as to advertiser
        substitution.




        171 See Sections III and IV.A.3 above
        172 Deposition of Susan Schiekofer (GroupM), September 26, 2023, 105:21–106:8.
        173 See Lee Initial Report, § V.

        174 Ghose Report, ¶ 112.




        HIGHLY CONFIDENTIAL                                                                                Page 41
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 16 of 65 PageID#
                                     82726
        Expert Rebuttal Report of Robin S. Lee, PhD




        IV.B.2.a. Advertiser allocation of marketing spend does not demonstrate that advertiser
        substitution is sufficient to constrain the exercise of market power in the relevant markets

(121)   Google’s experts claim that I ignore “how advertisers’ ability to closely measure the performance of
        display advertising enables them to shift their budgets dynamically and fluidly between…different
        formats, devices, and properties.”175 In purported support of this claim, Google’s experts highlight
        select documents that advertising customers allocate their budgets between display and integrated
        social media advertising.176 Prof. Ghose also describes tools that advertisers use to assess ROI of
        different marketing channels and reallocate budgets.177

(122)   However, these documents and discussion do not support their claim.178 The presented documents
        indicate that advertisers value multiple forms of advertising. Some may reflect re-allocations on the
        margins, but do not indicate complete or substantial substitution away in response to
        supracompetitive ad tech fees. For example:

        ◼     Dr. Israel points to a US Census Bureau study as support for his claim that “[a]dvertising
              customers, including the United States government…appear to view the relevant market more
              broadly” but that document confirms the US Census Bureau views different types of advertising
              as distinct. For example, as shown below, the document distinguishes “Social” and “Non-Social”
              and within those categories, “Banner” and “Video,” and the quote Dr. Israel highlights is listed
              under the conclusion “Engagement differed greatly between different types of
              advertisements.”179




        175 Ghose Report, ¶ 92. See also, Israel Report, ¶¶ 223–224.
        176 Ghose Report, ¶¶ 99–116; Israel Report, ¶¶ 223–224. Dr. Israel claims that “[t]he set of such relevant substitutes
            depends on the strategy of the advertiser” suggesting that some advertisers “seek to maximize return on investment
            (ROI) and other advertisers are “seeking access to a specific set of user attention” but these two strategies are tied
            together: advertisers interested in reaching a particular set of users or demographics may be seeking them out because of
            the expected higher return on investment.
        177 Ghose Report, ¶¶ 99–116.

        178 I understand that Prof. Wilbur has also evaluated Prof. Ghose’s claims regarding advertiser budget allocation and

            concludes that Prof. Ghose incorrectly conflates advertiser “fluidity” with interchangeability. See Wilbur Report, § IV.
        179 Israel Report, ¶ 223; CENSUS-ADS-0000074369, at -397–398, -400, -405 (01/06/2023). (emphasis in original).

            Dr. Israel quotes “[s]ocial media and non-social display advertisements are more comparable in form, function, and
            deployment, and their rates of engagement are more similar, although social media advertisements had a higher click
            rate and response-per-impression rate overall,” but he fails to provide context that the study describes them as more
            comparable to one another than to search advertisements. That social media and display are “more comparable” than
            search does not mean they are close substitutes; just as a hammer and screwdriver being more comparable to one another
            than to a wrench does not make them close substitutes. In fact, Dr. Israel’s quote falls under the conclusion
            “Engagement differed greatly between different types of advertisements,” and elsewhere the study found that media
            advertisements had “a higher click rate (0.3 percent vs. 0.1 percent)" and “substantially higher response per-impression
            rate (0.0050 percent vs. 0003 percent).”



        HIGHLY CONFIDENTIAL                                                                                                 Page 42
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 17 of 65 PageID#
                                   82727
    Expert Rebuttal Report of Robin S. Lee, PhD




    Figure 7. Excerpt from 2020 Census Evaluation Report: Investigating Digital Advertising and Online Self-
    Response




    ◼     Prof. Ghose cites an email from Centers for Medicare & Medicaid Services to "[i]nvestigate
          shifting budget from GDN to Facebook” which offers no specific recommendation.180 However,
          it separately notes “approval to shift $30K from YouTube to Google AdWords. YouTube will
          have an updated budget of $70K and will still run for the rest of the campaign just at lower
          levels,” consistent with the notion that advertisers re-allocate portions of their spend rather than
          completely substituting away.181
    ◼     Dr. Israel claims “U.S. agency advertisers indicate that they shift budget allocations between
          display advertising and social media advertising,” but the email he cites notes they want to “buy



    180   Ghose Report, ¶ 116; CMS-ADS-0000181785, at -785 (11/09/2018).
    181   CMS-ADS-0000181785, at -785 (11/09/2018).



    HIGHLY CONFIDENTIAL                                                                                  Page 43
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 18 of 65 PageID#
                                     82728
        Expert Rebuttal Report of Robin S. Lee, PhD




              BEYOND digital display/video…to buy additional media outside of display/video” and still
              retains a significant portion of the budget in display.182
        ◼     Prof. Ghose highlights a NYSERDA document recommending “[i]ncrease Paid Social budget by
              50%, shift from Digital Placements” but neglects to contextualize that shift.183 The document
              indicates that 94% of impressions are associated with “Digital Advertising” as compared to 6%
              with “Paid Social,” so a 50% increase in “Paid Social” likely represents a relatively small shift
              from “Digital Placements.”184
        ◼     Prof. Ghose cites a document from Texas A&M University that notes “[b]udget allocation will
              shift monthly across channels on performance and efficiency.”185 Notably, the document allocates
              budget to all four channels (Display, Search, Facebook/IG, and Retargeting) and has a distinct
              “Strategy” for each, where “Display Advertising” “[t]arget[s] ads to audiences based on the
              content they are engaging with or based on their online behaviors” and “Social Media
              Advertising” “[t]arget[s] ads based on key demographics and behavioral characteristics (age,
              education, field of study, school, job industry, employer, skills, groups, interests, etc.)”186
        ◼     Prof. Ghose also cites deposition testimony that corroborates that advertisers use different forms
              of advertising for different tasks (e.g., “depending on the goal of the campaign, might Comcast
              shift its spend between the various channels? A. Yes”).187

(123)   Prof. Ghose and Dr. Israel also cite documents and advertiser testimony that advertisers reallocate
        spend in response to performance indicators such as return on investment (ROI) and return on ad
        spend (ROAS).188 But these documents and testimony do not indicate that advertisers would re-
        allocate a substantial portion away in response to a small increase in the cost of open-web display ads,
        let alone open-web display ad tech fees.

(124)   Indeed, that advertisers continue to allocate spend to a mix of channels despite differences in ROI and
        ROAS calculations per channel suggests they would not make significant allocation changes in

        182 NAVY-ADS-0000349092, at -092–093 (09/14/2018). The email proposing shifting $1,400,000 among CPL/Job Sites
            ($300,000), Paid Social ($300,000), and Paid Search ($800,000) leaving $600,000 for Display ($2,200,000 −
            $1,400,000). The resulting “modified Pricing Proposal” retains “$7,000,000 for display/video” out of “$8,400,000
            TOTAL” over “July Aug Sept Oct.”
        183 Ghose Report, ¶ 116; NYSERDA0001121, at -126 (05/16/2019).

        184
            NYSERDA0001121, at -124, -125 (05/16/2019). There are 227,874 “Paid Social” impressions and 3,429,065 “Digital
            Placements” impressions. 227,874 ÷ (227,874 + 3,429,065) = 6%.
            To illustrate why a 50% increase in Paid Social results in a smaller decrease in Digital Placements, if CPM were twice
            that of Digital Placements, a 50% increase in Paid Social would result in a 7% decrease in Digital Placements (227,874
            × 2 × 50% ÷ 3,429,065 = 6.6%).
        185 TAMU 000537, at -575 (2021).

        186 TAMU 000537, at -569, -571, 575 (2021).

        187 Ghose Report, ¶ 116, citing the Deposition of Kristy Kozlowski (Comcast), United States of America, et al. v. Google

            LLC, U.S. District Court, Eastern District of Virginia, Case No. 1:23-cv-00108-LMB-JFA, September 6, 2023, 45:3-6.
        188 Ghose Report, ¶ 114-117; Israel Report, ¶ 177.




        HIGHLY CONFIDENTIAL                                                                                                Page 44
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 19 of 65 PageID#
                                     82729
        Expert Rebuttal Report of Robin S. Lee, PhD




        response to a small increase in the cost of ad tech fees. Consider a United States Postal Service
        (USPS) document highlighted by Prof. Ghose as “suggesting USPS ‘[c]onsider shifting a portion of
        spend from Display to Social.”189 This document indicates that USPS allocates spend across eight
        channel categories190 even though Total ROAS ranges from $10.41 (Direct Mail) to $33.57 (Social),
        with an ROAS of $12.81 for Digital Display.191 Moreover, the magnitude of those differences
        suggests that a small increase in the price of ad tech tools and resulting change in ROAS is unlikely to
        cause an advertiser who already accepts larger differences in ROAS across channels to make
        significant reallocation decisions.192 Other documents demonstrate that advertisers invest in multiple
        channels despite ROAS differences.




(125)   Google’s experts also present analyses of advertiser spending demonstrating that advertisers such as
        Fitbit, Comcast, Nike, and Macy’s allocate different shares of their advertising spend to open-web
        display and other channels.194 Like the documents they cite, their analyses merely demonstrate that
        advertisers use multiple forms of advertising and spending may vary over time across forms; they do
        not, however, support the claim that advertiser substitution would be sufficient to constrain a
        hypothetical monopolist from increasing ad tech prices in any of the relevant markets.195

(126)   Neither expert presents evidence that these shifts in allocation are in response to changes in relative
        prices or costs. Nor do they account for alternative explanations, including changes in marketing
        strategy over time, or focuses on different products or different consumers over time.196 Indeed, Prof.
        Ghose identifies numerous factors that “guide [advertiser] budget reallocation decisions, such as
        CTRs, ad placement profitability, changes in consumer preferences, seasonal trends in product


        189 Ghose Report, ¶ 116.
        190 TV/Video, Search, Digital Display, Direct Mail, Radio/Audio, Print, Cinema, Social.
        191 USPS-ADS-0000160382, at -395 (11/2018).

        192




        193 OMC-GOOG-00046776, at -794 (06/24/2019); NIKE0000108, at -145 (02/26/2021).
        194 Israel Report, ¶¶ 231-234, Figure 26, Figure 27, Table 3; Ghose Report, Figure 21, Figure 22.
        195 They also do not demonstrate that the budget allocations they identify are substitution at all. In Figure 78 in Appendix B,

            I recreate Dr. Israel’s Table 3 in levels instead of percentages. Though spending patterns vary by advertising, total
            spending on both “ad tech tools” and “social” has increased from 2019 to 2022.
        196 One also might observe similar shifts by any firm with budget constraints. A firm might choose to invest in marketing

            one year, hire more employees the following year, and upgrade its office space the third year, but those budget
            allocation patterns for a firm would not be sufficient to conclude that marketing, labor, and office space are part of a
            relevant antitrust market.



        HIGHLY CONFIDENTIAL                                                                                                   Page 45
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 20 of 65 PageID#
                                     82730
        Expert Rebuttal Report of Robin S. Lee, PhD




        demand, and/or industry innovations that offer new opportunities for effective ad delivery,” any of
        which could explain the patterns in Google’s experts’ analyses.197

(127)   I also understand that Prof. Wilbur has assessed Dr. Israel’s analysis of Fitbit (Figure 26) and
        Comcast (Figure 27) and concludes that Dr. Israel’s analysis shows that different digital display
        advertising formats are not interchangeable.198

(128)   Last, Prof. Ghose argues that the distinctions I draw between open-web display and other forms of
        digital advertising relies on a marketing concept that is “outdated and understates the fluidity of
        advertisers’ spending.”199 Prof. Ghose draws an artificial distinction between my reference to the
        allegedly “outdated” term “marketing funnel” (a term also used by current Google employees and
        documents and other industry participants) and what he calls the non-linear “consumer decision
        journey.”200 Yet both terms simply refer to the notion that consumer purchasing decisions involve
        multiple stages at which the effectiveness of advertising will vary.201 To the extent Prof. Ghose is
        suggesting that the non-linearity of that journey means that marketing targeted at different stages are
        perfect substitutes, his assertion is inconsistent with standard marketing textbooks, testimony and
        documents from Google and other industry participants, and his own research publications.202




        197 Ghose Report, ¶ 112.
        198 See Wilbur Report, § III.B.5
        199 Ghose Report, ¶ 93

        200 Ghose Report, ¶ 93-94. See e.g., Lee Initial Report, n. 33, 382, and 386 for examples of industry participants continuing

            to use the term.
        201 See e.g., Lee Initial Report, n. 34, quoting from Philip Kotler and Kevin Lane Keller, A Framework for Marketing

            Management, 16th ed. (Pearson Education, 2016): 122 (“A consumer’s purchase journey need not be linear, as a
            consumer may revisit stages or proceed in a different ordering prior to making a purchase. The effectiveness of different
            forms of advertising will still vary depending on an advertiser’s objective and the consumer’s awareness, interest, and
            desire”). I understand that Prof. Wilbur also concludes that these concepts are interchangeable and that Prof. Ghose’s
            criticism of my analysis is misleading and incorrect. See Wilbur Report, § V
        202 Lee Initial Report, §§ II.A.2, IV.B.2.a, n. 34; Vilma Todri, Anindya Ghose, Param Vir Singh, “Trade-Offs in Online

            Advertising: Advertising Effectiveness and Annoyance Dynamics Across the Purchase Funnel,” Information Systems
            Research, 2020, vol. 31, no. 1:102–125. https://doi.org/10.1287/isre.2019.0877 (“Investigating the dynamics of these
            annoyance effects, we reveal that consumers who reside in different stages of the purchase funnel exhibit considerably
            different tolerance for annoyance stimulation” and “Third, the proposed technique enables us to study the structural
            dynamics of the effective and annoying advertising effects—even within a purchase funnel—by allowing the magnitude
            of these effects to be contingent on the latent state in which consumers reside.”); Anindya Ghose, “One Additional
            Minute of Exposure to Display Advertising Can Boost Direct Traffic to a Company’s Website by 10%”, LinkedIn,
            September 8, 2016, https://www.linkedin.com/pulse/one-additional-minute-exposure-display-advertising-can-anindya-
            ghose/ (“When a consumer is targeted earlier in the purchase funnel, one additional minute of exposure to display
            advertising can increase the likelihood he/she will visit a company website by almost 10%.”).



        HIGHLY CONFIDENTIAL                                                                                                  Page 46
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 21 of 65 PageID#
                                     82731
        Expert Rebuttal Report of Robin S. Lee, PhD




        IV.B.2.b. Survey evidence relied on by Dr. Israel does not demonstrate that advertiser
        substitution is sufficient to constrain the exercise of market power in the relevant markets

(129)   In his report, Dr. Israel relies on a survey by Prof. Simonson to argue that “advertisers would, in fact,
        shift substantial spend to social media as well as other digital advertising channels in response to a
        small but significant increase in the cost of programmatic open web display advertising.”203

(130)   As I discussed above, taking Dr. Israel’s representation of these survey results at face value,204 these
        estimates do not indicate that the HMT would fail in any of the relevant markets.

        ◼     First, a price increase in the cost of programmatic open-web display advertising is not the same as
              a price increase in the cost of a set of ad tech tools (see Section IV.B). A price increase in ad tech
              tools is not fully borne by advertisers, and for the same percentage change would likely lead to a
              smaller percentage change in the cost of advertising.
        ◼     Second, these estimates of advertiser substitution to alternative channels are obtained at existing
              or prevailing prices. When prices are already supracompetitive, these estimates likely overstate
              substitution patterns at more competitive ad tech prices, which is the relevant benchmark for the
              purposes of market definition (see Section IV.A.2).
        ◼     Third, evaluating advertiser substitution alone without considering the ability of open-web
              publishers to substitute is insufficient to conclude that an HMT over a set of ad tech tools would
              fail (Section III, IV.A.3). Indeed, a fee increase for ad tech tools could lead to no meaningful
              increase in the cost of programmatic display advertising if nearly the entirety of fee increase was
              borne by open-web publishers in the form of lower payouts.

(131)   Even setting these issues aside, Dr. Israel’s discussion of Prof. Simonson’s survey does not support
        the claim that there would be sufficient advertiser substitution to defeat an exercise of market power
        by a monopolist in any of the relevant product markets. This is for the following reasons.

(132)   First, according to Dr. Israel, Prof. Simonson’s survey finds that “more than half of advertiser sand
        agencies would divert spending to other types of digital advertising in response to an increase in the
        cost of programmatic open web display advertising.”205 As shown in Dr. Israel’s Figure 29, a
        significant share of advertisers (36 to 43 percent) responded that they would not divert any spending,
        which supports the claim that programmatic display advertising as a channel is distinct and valuable



        203 Israel Report, ¶ 236.
        204 I also understand that Prof. Hoyer has identified numerous flaws in Prof. Simonson’s survey upon which Dr. Israel relies
            (see generally Expert Rebuttal Report of Wayne D. Hoyer, Ph.D., February 13, 2024, (hereinafter “Hoyer Report”), §
            III). With respect to this question, I understand Prof. Hoyer concludes that the survey data are also unreliable due to
            differences in respondents’ interpretations of the question and because the question prompts respondents to indicate that
            they would divert spending. See Hoyer Report, § III.B.1.
        205 Israel Report, ¶ 236




        HIGHLY CONFIDENTIAL                                                                                                 Page 47
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 22 of 65 PageID#
                                     82732
        Expert Rebuttal Report of Robin S. Lee, PhD




        to advertisers.206 Indeed, Dr. Israel’s interpretation of these survey results does not demonstrate (nor
        does he opine based on these results) that the HMT would fail for any of the relevant product markets.

(133)   Second, the way that Dr. Israel reports some of these survey results can overstate the closeness of any
        potential substitute types of advertising.207

(134)   For example, Dr. Israel reports that the highest percentage of advertisers that “would divert spending
        to other types of digital advertising in response to an increase in the cost of programmatic open web
        display advertising” is among “Advertisers < $500K” (64%).208 Dr. Israel also displays the “other
        digital advertising alternatives” that “those advertisers who would switch would switch to,” with the
        highest category being “Social” at 58%.209 However, this percentage is only among those advertisers
        who would divert spending. Combining these two percentages, and taking Dr. Israel’s figures from
        Prof. Simonson’s survey at face value, suggests that only 37% of lower-spend advertisers would
        divert spending to social210—or, put another way, that 63% of lower-spend advertisers would not
        divert any of their programmatic display advertising spend to social media advertising in the face of a
        small but significant price increase in the cost of programmatic display advertising.211

(135)   The amount of spending that would be diverted to any given category is similarly reported by Dr.
        Israel only among those respondents who responded that they would shift spending.212 Dr. Israel does
        not explain how reported spending changes “on a scale of 0 to 10” translates into a finding that the
        relevant product markets are not well-defined.213

(136)   Last, I understand that Prof. Hoyer discusses further details of Prof. Simonson’s survey.

        IV.B.2.c. The presence of other forms of ad inventory identified by Dr. Israel and Prof. Ghose
        does not demonstrate that advertiser substitution is sufficient to constrain the exercise of
        market power in the relevant markets

(137)   Though Dr. Israel acknowledges that “open web display advertising has certain features that may
        distinguish it from other forms of advertising” he nevertheless argues I “exclude[] [from the relevant
        product markets] important alternative sources of advertising inventory to which advertisers could
        turn if the cost of open web display advertising increased,” specifically “properties using integrated
        206 Israel Report, Figure 29.
        207 Israel Report, n. 273, Figure 30.
        208 Israel Report, ¶ 236, Figure 29.

        209 Israel Report, ¶ 237, Figure 30.

        210 64% × 58% = 37%. Israel Report, Figures 29, 30.

        211 This example uses the highest category of diversion shown in Dr. Israel’s figures. Every other combination of advertiser

            category and advertising type yields an even lower percentage: e.g., Dr. Israel’s figures show that only 13% of ad
            agencies answered they would divert spend to “App/In-App” advertising “in response to an increase in the cost of
            programmatic open web display advertising”. (57% × 23% = 13%). Israel Report, Figures 29, 30, ¶ 236.
        212 Israel Report, ¶ 238, Figure 31.

        213 Israel Report, Figure 31, n. 275.




        HIGHLY CONFIDENTIAL                                                                                                 Page 48
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 23 of 65 PageID#
                                     82733
        Expert Rebuttal Report of Robin S. Lee, PhD




        advertising tools, in-app, instream video, and native advertising.”214 Dr. Ghose similarly argues I
        “exclude” alternative sources of advertising.215

(138)   Dr. Israel is incorrect in stating that the relevant product markets “exclud[e] certain tools because
        they facilitate sales of different types of advertising.”216 These product markets include certain ad
        tools (publishers ad servers, ad exchanges, and advertising ad networks) if they facilitate open-web
        display advertising—a distinct form of advertising that is valuable to advertisers and publishers.
        Tools are excluded if they cannot facilitate open-web display advertising, not because they also
        facilitate another form of advertising. As long as an ad tech product can facilitate open-web display
        transactions as a publisher ad server, an ad exchange, or an advertiser ad network, it is in one of the
        relevant product markets.

(139)   As another example, consider Facebook Audience Network (FAN). Prof. Ghose criticizes me for
        distinguishing “open web display advertising” from advertising on “apps or owned-and-operated
        (O&O) properties.”217 He argues that the distinction between open-web display advertising and O&O
        properties is undercut by properties like FAN, which “enables advertisers to purchase inventory on
        apps outside of the Facebook social network.” But FAN is a product contained in the advertiser ad
        network market during the periods in which it was available to customers seeking to transact open-
        web display transactions; indeed, FAN’s open-web transactions are clearly visible in orange in Figure
        56 of my initial report (until FAN exited the market in April 2020).




        214 Israel Report, ¶¶ 170, 217–218.
        215 “Plaintiffs’ experts exclude from their concept of ‘open web display advertising’: (i) formats such as native and instream
            advertising, and (ii) properties such as social media properties, retailer properties, CTV platforms, and advertising on
            mobile apps.” Ghose Report, ¶ 24. Though Dr. Ghose uses slightly different categorizations of properties than Dr. Israel,
            advertisements on those properties are either open-web display or overlap with Dr. Israel’s categories.
        216 Israel Report, ¶ 188 (emphasis in original).

        217 Ghose Report, ¶ 36.




        HIGHLY CONFIDENTIAL                                                                                                   Page 49
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 24 of 65 PageID#
                                   82734
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 25 of 65 PageID#
                                     82735
        Expert Rebuttal Report of Robin S. Lee, PhD




(141)   Nevertheless, much of Dr. Israel’s support for broadening the market to include other forms of digital
        ad inventory (which I also interpret to mean the inclusion of products that do not necessarily allow
        customers to transact open-web display advertising) comes in the form of arguments that I have
        already addressed.

(142)   For advertising on properties using integrated advertising tools, in-app advertising, and instream
        video, Dr. Israel cites to Prof. Simonson’s survey to demonstrate that advertisers “multihome” and
        spend on different forms of digital advertising.219 As a result, Dr. Israel argues that “if ad tech
        providers attempted to capture more of the value of matches on the open web, advertisers could
        simply shift more spending into apps to avoid those changes.”220 But Dr. Israel confuses multihoming
        with substitution, as I explained in Section IV.A.4. He also ignores that even if advertisers exhibit
        highly elastic demand with respect to display advertising prices, this does not mean an ad tech
        provider would necessarily be constrained from exercising market power. For example, a hypothetical
        monopolist of ad tech tools in a relevant market could still charge supracompetitive fees and capture
        more of the value created by matches without advertisers seeing a price increase above competitive
        levels (if fee increases were borne by publishers), as I discussed in Sections III and IV.A.3.

(143)   Dr. Israel also cites to Prof. Simonson’s survey as support for his assertion that advertisers would
        shift spend to properties using integrated advertising tools, in-app advertising, and instream video in
        response to a price increase.221 But as I explained in Section IV.B.2.b, even taking Dr. Israel’s
        interpretation of Prof. Simonson’s survey results at face value, the results are still consistent with my
        opinion that programmatic display advertising is distinct and valuable to advertisers.

(144)   Finally, Dr. Ghose claims I “create an artificial distinction between what [I] call ‘open web display
        advertising’ and other online display advertising,” citing to his own expertise and “market
        realities.”222 But Dr. Ghose’s claims do not speak to market definition; as I explained in my initial
        report and in Section IV.A. of this report, relevant antitrust markets are based on demand-
        substitution—an aspect of market definition Dr. Israel and I agree on.223, 224 However, Dr. Ghose is
        also incorrect that the distinction is artificial. As I explain in my initial report, and as Dr. Israel
        recognizes, “Google and other industry participants acknowledge important distinctions between
        open-web display advertising and other forms of digital advertising,” citing to numerous Google
        219 Israel Report, ¶¶ 235, 247, 251, Figures 28, 35, 38.
        220 Israel Report, ¶ 247.
        221 Israel Report, ¶¶ 236–238, 248, 252, Figures 29–31.

        222 Ghose Report, ¶¶ 24, 28.

        223 Israel Report, ¶¶ 150–151.

        224 Additionally, as noted in my initial report, the label “relevant” serves to differentiate the analytic construct of a relevant

            market from other uses of the term “market”: see 2010 HMG, § 4 (“Relevant antitrust markets defined according to the
            hypothetical monopolist test are not always intuitive and may not align with how industry members use the term
            ‘market.’”); See also Jonathan B. Baker, “Market Definition: An Analytical Overview,” Antitrust Law Journal 74, no. 1
            (2007), 130 (labeling markets as relevant or antitrust markets “distinguish[es] these markets from what business
            executives and consultants might define for other purposes.”). 2023 HMG § 4.3.D.3.



        HIGHLY CONFIDENTIAL                                                                                                       Page 51
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 26 of 65 PageID#
                                     82736
        Expert Rebuttal Report of Robin S. Lee, PhD




        documents as well as documents and deposition testimony from other industry participants.225 For
        example, Google offers distinct ad tech products for (i) search,226 (ii) native,227 (iii) social,228 (iv)
        instream video229 consistent with these products serving different advertiser needs and functions.230

(145)   In the remainder of this Section, I discuss different forms of ad inventory identified by Dr. Israel and
        Prof. Ghose and explain why their analyses of advertiser substitution do not support the claim that the
        relevant markets are not well-defined.

        IV.B.2.c.i. Advertising on properties using integrated advertising tools, including large social media
        properties

(146)   In my initial report I highlighted four reasons that from the perspective of advertisers, open-web
        display advertising is distinct from advertising on websites for publishers such as Amazon and
        Facebook that sell owned-and-operated display inventory using integrated tech products. Prof. Ghose
        purports to address each, but fails to undermine my claims and the distinct value of open-web display
        advertising to advertisers.

        ◼     “Open-web advertising provides advertisers with the ability to reach more users, more
              frequently, than restricting advertising to applications or websites with integrated advertising
              sales.”231
              Among other evidence, I highlighted a 2020 survey that consumers spend two-thirds of their time
              on properties not owned by major technology companies (such as Facebook, Instagram, and
              Amazon that use their own integrated ad tech).232 Prof. Ghose argues that this two-thirds of


        225 Lee Initial Report, § IV.B.3; Israel Report, ¶ 176 (“Notwithstanding Prof. Lee’s claim that ‘[i]ndustry participants
            recognize the distinctiveness of open-web display advertising,’ ordinary-course documents also make clear that there is
            a strong degree of competition between open web display advertising and other forms of digital advertising, the relevant
            point for market definition.”).
        226 Lee Initial Report, ¶ 287, Figure 28 (“Google documents indicate that web display and search ads are viewed as

            reaching potential customers at different stages of the marketing funnel.”).
        227 Lee Initial Report, ¶ 297 (“Consistent with content recommendation appealing to different advertising needs and

            advertisers, a 2020 Google presentation noted that a challenge for its Matched Content product was a ‘lack of [content
            recommendation]-specific advertisers.’”).
        228 Lee Initial Report, ¶ 296 (“Consistent with the distinctions between Discovery ads and Google’s search and display ads

            illustrated above, Prabhakar Raghavan, Google’s Senior Vice President in charge of advertising and commerce products,
            testified that Google launched Discovery ads because advertisers were asking Google why they could not get the types
            of social ads from Google that they could get from Facebook and Instagram.”).
        229 Lee Initial Report, ¶ 290 (“Google recommends that advertisers use instream video ads ‘when you have video content

            you’d like to promote before, during, or after other videos’ while outstream ads are preferable for advertisers who ‘want
            to expand the reach of your video ads … helping you reach more customers.’”).
        230 Though market definition is based on demand-side substitution which is distinct “from what business executives and

            consultants might define for other purposes” (Jonathan B. Baker, “Market Definition: An Analytical Overview,”
            Antitrust Law Journal 74, no. 1 (2007), 130), Google’s product offerings and assessments can be informative as to how
            customers view the interchangeability of products.
        231 Lee Initial Report, ¶ 300.

        232 Lee Initial Report, ¶ 300.




        HIGHLY CONFIDENTIAL                                                                                                 Page 52
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 27 of 65 PageID#
                                   82737
    Expert Rebuttal Report of Robin S. Lee, PhD




          properties not owned by major technology companies still includes some integrated properties,
          but does not appear to dispute that users spend a significant amount of time on properties that do
          not use integrated advertising tools.233 Indeed, Google’s own documents indicate the large
          volume of “addressable web display ad impressions” that are generated by consumers visiting
          sites without integrated ad tech tools.234
    ◼     “Open-web display advertising and advertising on applications or publishers with their own
          integrated ad tech tools can reach different groups of consumers, or reach similar groups of
          consumers at different times.”235
          Consistent with this, many advertisers promote products using both types of ad inventory.236 Prof.
          Ghose attempts to dispute my claims by presenting statistics regarding the overlap of open-web
          and social media users, and open-web and smartphone ownership. But even if these statistics
          were taken at face value, Prof. Ghose ignores that (i) users are on open-web properties and social
          media websites at different times, and (ii) not all smartphone users download and use the same set
          of mobile apps or browse the same websites.237
    ◼     “Whereas advertising on websites with integrated ad-tech products show advertisements to users
          while they are within the publisher’s web properties, open-web advertising tools can track and
          display advertisements to users on a broader set of websites as they navigate the web. This
          capability allows advertisers to reach users when they are conducting a web search for a product
          or considering a purchase decision on different websites.”238
          Prof. Ghose does not dispute the broader set of websites available through open-web advertising
          tools. Rather, Prof. Ghose points to owned-and-operated properties allow for the purchase of
          inventory on other properties, highlighting Meta Audience Network (previously FAN).239 As I
          discussed above, FAN was included in my advertiser ad network market while it facilitated open-
          web display advertising, but it has since exited the market.240 Moreover, any advertising ad

    233 Ghose Report, ¶ 37.
    234 Lee Initial Report, Figure 42. See GOOG-AT-MDL-001263326, at -327 and -341 (08/2018); GOOG-DOJ-04442323, at
        -350 (09/11/2018).
    235 Lee Initial Report, ¶ 301.

    236 Lee Initial Report, ¶ 301.

    237 Prof. Ghose disputes this by citing a statistic that “93% (= 4.95 billion / 5. 3 billion) of worldwide internet users were

        social media users.” But the report underlying Prof. Ghose’s statistic notes that it is measure “active user identifies”
        which “do not represent unique individuals” and that may be distorted by factors such as duplicate and ‘false’ accounts.”
        Ghose Report, ¶ 38; Simon Kemp, “Digital 2023 October Global Statshot Report,” Data Reportal”, October 19, 2023,
        https://datareportal.com/reports/digital-2023-october-global-statshot. Prof. Ghose cites Ani Petrosyan, “Number of
        internet and social media users worldwide as of January 2024,” January 31, 2024,
        https://www.statista.com/statistics/617136/digital-population-worldwide/, which contains a source link to the “Digital
        2023: October Global Statshot Report.”
    238 Lee Initial Report, ¶ 302.

    239 Ghose Report, ¶ 39.

    240 Prof. Ghose states erroneously that Meta Audience networks is still available on third-party websites. Ghose Report, ¶




    HIGHLY CONFIDENTIAL                                                                                                   Page 53
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 28 of 65 PageID#
                                     82738
        Expert Rebuttal Report of Robin S. Lee, PhD




             network, ad exchange, or publisher ad server (even those owned by companies like Amazon or
             Facebook) that allowed for the purchase of open-web display advertising would be contained in
             one of the relevant product markets.241
        ◼    “Advertising through integrated platforms often requires the advertiser to use the website’s own
             ad tech tools, and to manage their budgets across different integrated and non-integrated ad tech
             products independently.”242
             Prof. Ghose identifies limited examples of owned-and-operated platforms that make inventory
             available through DSPs,243 but does not claim that this the case for certain large integrated
             platforms (including Amazon, Google and Meta’s O&O properties).244 Moreover, to the extent
             that inventory is available through third-party ad tech tools like ad exchanges, such transactions
             would be included in the relevant market share calculations and my analyses of the relevant
             markets.

(147)   Dr. Israel does not address the four reasons that I identified above, but nevertheless asserts that
        advertisers could switch from open-web display advertising ad tech tools to integrated advertising
        tools in response to a price increase.245 He also asserts that an advertiser could then reach the same
        user through a different site—e.g., Facebook or Instagram—that they would otherwise reach on an
        open-web publisher’s website.246 To support his assertions, Dr. Israel points to Google documents,
        “cross-visitation data,” and “advertiser multi-homing.” I discuss next why these do not establish that
        advertisers view advertising on properties using integrated ad tech tools as sufficiently close


            63 (“Meta Audience Network allows advertisers to leverage data on Meta users … to target their desired audience
            effectively across not only Meta’s own properties, but also the websites and apps of third parties.”). As I explain in the
            Lee Initial Report, “Meta Audience Network (formerly Facebook Audience Network) facilitated advertising transactions
            to open-web publishers until 2020, when it shifted focus to advertising on Meta O&O properties and select third-party
            mobile apps.” Lee Initial Report, ¶ 101. See also, Allison Schiff, “Facebook is Killing Off Its Web Supply In Audience
            Network – And Don’t Be Surprised If It All Shuts Down,” adexchanger, February 5, 2020,
            https://www.adexchanger.com/platforms/facebook-is-killing-off-its-web-supply-in-audience-network-and-dont-be-
            surprised-if-it-all-shuts-down/; Meta, “Changes to Web and In-stream Placements,” accessed February, 11 2024,
            https://www.facebook.com/business/help/645132129564436; Meta, “Meta Audience Network,” accessed February 11,
            2024, https://www.facebook.com/audiencenetwork/.
        241 In Section III.B of Prof. Ghose’s report, he argues that some self-supply ad tech products also facilitate the sale of open-

            web display impressions. As I discussed in Section V of my initial report, to the extent that there are tools that facilitate
            the sale of both open-web and self-supply display inventory, those tools are in my markets, but the relevant set of
            transactions to assess their competitive significance in the relevant markets is their open-web display transaction
            volume. Examples of these tools include FAN, Xandr, Yahoo, and Google. Note that X Audience Platform, which Prof.
            Ghose provides as an example of an integrated ad product that facilitates third-party ad sales, does not allow for the
            purchase of web ad inventory. “X Audience Platform”, X Business, accessed February 11, 2024,
            https://business.twitter.com/en/help/campaign-setup/twitter-audience-platform.html
        242 Lee Initial Report, ¶ 303.

        243 Ghose Report, ¶ 40. There is limited detail available to verify Prof. Ghose’s claims because several of the sources are

            either very new (e.g., Disney’s deal in October 2023) or very old (e.g., a Twitter reference to 2014).
        244 Google considers these large integrated platforms unaddressable. See Lee Initial Report, Figure 42. See also, Lee Initial

            Report, ¶ 279, Lee Initial Report, n. 162, Lee Initial Report, n. 594, Lee Initial Report, n. 31.
        245 Israel Report, ¶ 221.

        246 Israel Report, ¶¶ 219–221.




        HIGHLY CONFIDENTIAL                                                                                                     Page 54
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 29 of 65 PageID#
                                     82739
        Expert Rebuttal Report of Robin S. Lee, PhD




        substitutes to constrain a hypothetical monopolist of a single ad tech component (publisher ad servers,
        ad exchanges, or advertiser ad networks) from exercising market power over advertisers and open-
        web publishers.

(148)   Documents. Dr. Israel first highlights a number of Google documents he claims support his assertion
        because they reference Facebook and Amazon as potential competitors.247 But as Dr. Israel
        recognizes, market definition analyzes “demand-side substitution” and “products that are reasonably
        interchangeable from the point of view of customers.”248 That Google documents discuss other firms
        as competitors does not speak to their substitutability from the perspective of customers. Though it
        may be common for firms to look at different levels of competition or look at their business in both
        broad and narrow groupings of competing products, that does not make those groupings antitrust
        markets.249

(149)   Dr. Israel also mischaracterizes Google’s documents. For example, he quotes selectively from a
        Google document that states “[a]rguably, Facebook is one of the biggest competitive threats to
        Google” but ignores that the document summarizes the “competitive threat [Facebook] presents to
        various areas of Google’s business” and that it elsewhere notes that “Google is an undisputed leader
        of ad tech and offers pubs a compelling end to end solution for all their needs, while Facebook has
        pulled back from ad tech after more limited success. Where Facebook offers the biggest competitive
        threat is ad formats, specifically native, where it currently wins in implementation and
        performance.”250 And notably, Dr. Israel’s documents about Facebook predate FAN’s exit from open-
        web display in April 2020.251

(150)   Similarly, Dr. Israel quotes from a 2018 Google document that “Amazon is an existential threat” but
        ignores that the document is assessing Amazon holistically across a variety of product offerings; and
        that for ad tech tools specifically it describes “Ad Server” as “Threat Low”; “Ad Network” as “Threat
        Medium Focus on remarketing & product ads” and “Ad Exchange” as “Threat N/A.”252


        247 Israel Report, ¶¶ 176, 222.
        248 Israel Report, ¶ 153.
        249 Jonathan B. Baker, “Market Definition: An Analytical Overview,” Antitrust Law Journal 74, no. 1 (2007), 130 (labeling

            markets as relevant or antitrust markets “distinguish[es] these markets from what business executives and consultants
            might define for other purposes.”).
        250
            GOOG-DOJ-11788944, at -946–947, -979 (08/01/2019) (emphasis added). See also, -981 (“We cannot underestimate
            the value of a full stack when it comes to owning the tag and successfully competing with FAN. Partners can
            consolidate native within their overall workflow seamlessly, everything from demand management through mediation to
            measurement and analytics through GA/Firebase. This is the area where Facebook cannot come close to competing,
            especially as they have taken a step back from adtech in 2016 to date.”); -952 (“Facebook is a mobile first company…”);
            -956 (“…with Video and Mobile projected to drive long-term growth” (citing distinct growth categories of: Oculus VR,
            Graph Search, Instagram, Video Ads, Mobile App Install, Newsfeed – Desktop, Newsfeed – Mobile, Global RHS
            Display, Audience Network).).
        251 Israel Report, ¶ 222. Dr. Israel presents twelve documents that predate 2020 and one document from February 2020.

        252 GOOG-DOJ-12634156, at -160, -206 (01/16/2018). The two products that are labeled “Threat High” are “Paid Search”




        HIGHLY CONFIDENTIAL                                                                                                Page 55
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 30 of 65 PageID#
                                     82740
        Expert Rebuttal Report of Robin S. Lee, PhD




(151)   Even where documents are not mischaracterized, they are consistent with Google protecting against
        others making inroads into open-web display, as I discussed in my initial report, and are not
        necessarily evidence that Google lacks monopoly power.253 They are also consistent with the
        Cellophane Fallacy that I discussed in Section IV.A.2 applying: i.e., once a firm exercises substantial
        market power within a relevant product market that has been monopolized, it will face greater
        competition from products outside of that market.254

(152)   Finally, Dr. Israel fails to consider the numerous documents from Google and other industry
        participants cited in my initial report that indicate the distinctiveness of open-web display advertising
        relative to other forms of digital advertising.255 These include, for example, a 2018 Google
        presentation showing Facebook and Amazon as part of the “unaddressable” segment of the web for its
        sellside display business,256 and a 2020 presentation noting how Discovery Ads is “positioned against
        Facebook” and how social ads target different segments of advertiser spend than its display ad
        products.257

(153)   Cross-visitation data. Dr. Israel also analyzes “cross-visitation data” from the market research firm
        Comscore, which “captures the fraction of internet users visiting a given reference property (like
        CNN) in a month who also visited other web properties (like The New York Times or Facebook).”258
        He examines visitors to CNN, other top news properties, and top entertainment properties, and finds
        that their top cross-visited sites are properties using integrated advertising tools, such as Amazon,
        Facebook, Instagram, Walmart, and Twitter.259

(154)   But Dr. Israel’s charts merely show the obvious: that the publishers that choose to integrate are some
        of the largest individual publishers on the web. But size alone does not determine substitution

            and “DSP.” Dr. Israel also quotes only the second half of a slide title, “[w]ith the addition of two new products, Amazon
            suite of ad solutions is increasingly encroaching on Google’s core business” and ignores that the two new products are
            “Paid Search (non-endemic) and “O&O Video (Amazon Video Ads).”
            Similarly, Dr. Israel selectively quotes from a Google presentation that states “Amazon has developed key pillars of an
            advertising ecosystem that can compete with DoubleClick stack” but ignores the slide title that “Amazon is actively
            building a programmatic stack with a special focus on mobile app” and the conclusion of the slide that “Google has key
            assets including our scale and our full platform that can outperform Amazon and better serve the full needs of our
            partners.” GOOG-AT-MDL-003530782, at -792 and -810.
        253 See Lee Initial Report, § VII.A, Appendix L.2.b, n. 1413. See GOOG-TEX-00035601, at -601 (12/09/2016). See also

            GOOG-TEX-00120775, at -786 (10/27/2016).
        254 For example, Dr. Israel selectively quotes from a 2017 Google presentation that “[o]ur competitive focus is shifting to

            FB and AMZN as they gain momentum” but ignores the previous slide that states “[o]ur DRX product and sales focus is
            shifting away from traditional ad tech competitors [Rubicon, AppNexus, Pubmatic] due to header bidding…News &
            Pub AdX compete and win rate has been steadily increasing with the rise of header bidding and EBDA…Header bidding
            has highlighted the value of DRX’s superior demand and full stack solution.” GOOG-DOJ-13952875, at -877, -878
            (08/2017).
        255 Lee Initial Report, ¶¶ 304–306.

        256 GOOG-DOJ-04442323, at -350 (02/08/2018) (Google Sellside Monetization deck).

        257 GOOG-AT-MDL-009638243, at -250–253, 274 (06/05/2020).

        258 Israel Report, ¶ 226.

        259 Israel Report, ¶¶ 226–230.




        HIGHLY CONFIDENTIAL                                                                                                 Page 56
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 31 of 65 PageID#
                                     82741
        Expert Rebuttal Report of Robin S. Lee, PhD




        patterns; cross-visitation ignores other dimensions of targeting including intent and timing. The same
        user may respond differently to an ad they view when scrolling through a Facebook feed as compared
        to a banner ad they view on a website, as I explain in my initial report.260 For example, Dr. Israel
        could likely construct a similar chart showing that most users who visit CNN also travel on roads or
        highways (perhaps even more than the 80% who visit Amazon), but even he does not contend that
        roadside billboards are a close substitute to open-web display advertising.

(155)   Setting aside these flaws in Dr. Israel’s analysis, his table (reproduced below) shows that at least 1 in
        5 users could not be reached at all by substituting solely to the largest of these alternative sites. This is
        important because an integrated tool restricts an advertiser to visitors of that site. In contrast, open-
        web display provides access to a larger portion of online inventory in combination. For example, if a
        CNN user’s second choice news site is split between The New York Times, The Washington Post,
        CBS News, and Fox News, a single open-web display tool could potentially allow an advertiser to
        reach all of those users. Put differently, the appropriate comparison is not one red (integrated) bar in
        Dr. Israel’s chart to one blue (open-web) bar, but one-red bar to the set of users represented by all the
        blue bars combined.




        260   Lee Initial Report, §§ II.A.2, II.A.3, IV.B.2.



        HIGHLY CONFIDENTIAL                                                                                  Page 57
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 32 of 65 PageID#
                                   82742
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 33 of 65 PageID#
                                     82743
        Expert Rebuttal Report of Robin S. Lee, PhD




        objectives.262 I address other flaws in Dr. Israel’s “multi-homing” analysis of bidding tools in Section
        IV.E.1.b.i.2.263

        IV.B.2.c.ii. In-app advertising

(157)   In my initial report I explained that “from the perspective of advertisers, [open-web] advertising is
        distinct from advertising on applications.”264 This is for several reasons, including some of the
        reasons discussed above for integrated properties: “open-web display advertising and advertising on
        applications…can reach different groups of consumers, or reach similar groups of consumers at
        different times,”265 and “open-web advertising tools can track and display advertisements to a broader
        set of websites as they navigate the web”.266 I also noted that “in-app advertisements may be seen
        primarily by smartphone users, who have different characteristics than web users that are reached by
        web-display advertising.”267 Neither Prof. Ghose nor Dr. Israel address these distinctions.

(158)   Rather, Dr. Israel points to the fact that “in-app advertising has accounted for an increasing share of
        spend on Google Ads” and that “individual advertisers frequently purchase both web and app
        inventory” and asserts that “[i]n-app advertising also offers an important alternative to open web
        display advertising.”268

(159)   Dr. Israel’s finding that app spending is growing is not surprising given the growing usage of apps
        and growing app advertising inventory over the past decade.269 Such growth is consistent with
        advertising patterns following consumer app usage. However, Dr. Israel’s inference that such growth
        reflects substitution away from web spending is misleading. In Figure 10, which converts Dr. Israel’s
        Figure 33 from percentages to dollars, it is clear that though Google Ads spending on apps has grown,
        spending on web has also grown. Growth in both segments, as well as Dr. Israel’s finding that
        “advertisers buying both web and app impressions accounted for 90 percent of Google Ads spending”
        are consistent with the notion that advertisers view both forms of advertising as distinct and
        valuable.270


        262 I also note that Dr. Israel’s Figure 32 compares advertisers who use Meta and advertisers who use Google Ads, but
            Google Ads can include inventory other than open-web display advertising.
        263 I also note that taken at face value, Dr. Israel’s figures assessing Dr. Simonson’s survey imply that approximately 22–30

            percent of advertisers do not use in-app advertising and that only 33–37 percent of advertisers “would shift at least some
            spend to social media.” Israel Report, ¶¶ 235–237, Figure 28, Figure 29, Figure 30. 33–37 percent is calculated by
            multiplying each percentage that “will divert spending” from Figure 29 by the corresponding “Social” percentage in
            Figure 30.
        264 Lee Initial Report, ¶ 299.

        265 Lee Initial Report, ¶ 301.

        266 Lee Initial Report, ¶ 302.

        267 Lee Initial Report, ¶ 301.

        268 Israel Report, ¶¶ 244–246.

        269 Israel Report, Figure 33.

        270 Israel Report, ¶ 246.




        HIGHLY CONFIDENTIAL                                                                                                   Page 59
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 34 of 65 PageID#
                                   82744
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 35 of 65 PageID#
                                     82745
        Expert Rebuttal Report of Robin S. Lee, PhD




        IV.B.2.c.iii. Instream video advertising

(161)   In my initial report, I explained that:274

                  Instream and outstream video ads help advertisers meet different goals. Instream
                  video advertisements tend to have a higher view rate and reach a more attentive
                  audience since they are shown to users when they are already watching a video, while
                  outstream video advertisements tend to reach a broader, but less engaged, audience
                  since users can easily scroll past them or direct their attention elsewhere on the page.
                  Google recommends that advertisers use instream video ads “when you have video
                  content you’d like to promote before, during, or after other videos” while outstream
                  ads are preferable for advertisers who “want to expand the reach of your video ads …
                  helping you reach more customers.”

                  Instream video advertising also serves a distinct purpose for advertisers relative to
                  web display ads. Instream video ads tend to be more expensive to produce than static
                  display advertisements, and because some ad networks and exchanges specialize in
                  either instream video or static display ads, advertisers may need to use different
                  channels to purchase video and display advertisements.

(162)   In response, Dr. Israel claims that “[i]nstream video advertising offers another alternative to which
        advertisers could turn,” and that statistics that he presents “supports the conclusion that advertisers
        would shift spend to digital video advertising in response to a small but significant increase in the
        price of display advertising.”275 However, his analyses fail to support his opinion that the relevant
        markets “incorrectly excludes competition from properties using…instream video.”276

(163)   First, Dr. Israel’s analysis that “instream video advertising has accounted for an increasing share of
        display ad spend on Google Ads” does not demonstrate that advertisers would substitute away from
        open-web display to instream video. Rather, in Figure 11, which converts Dr. Israel’s Figure 36 from
        percentages to dollars, it is clear that though Google Ads spending on instream video has grown,
        spending on other display has also grown. Growth in both segments is consistent with the notion that
        advertisers view both forms of advertising as distinct and valuable.




        274 Lee Initial Report, ¶¶ 290–291.
        275 Israel Report, ¶¶ 249, 252.
        276 Israel Report, ¶ 218 (“Plaintiffs’ proposed market incorrectly excludes competition from properties using integrated

            advertising tools, in-app, instream video, and native advertising.”).



        HIGHLY CONFIDENTIAL                                                                                                  Page 61
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 36 of 65 PageID#
                                   82746
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 37 of 65 PageID#
                                     82747
        Expert Rebuttal Report of Robin S. Lee, PhD




        advertisers “would shift spend to digital video advertising.”280 And as Dr. Israel’s figures do not
        distinguish between instream and outstream video, these numbers may overstate the number of
        advertisers who use or would shift to instream video.281

        IV.B.2.c.iv. Native advertising

(166)   In my initial report I explained that:282

                  Native advertising is also distinct from web display advertising from an advertiser’s
                  perspective. Whereas traditional banner display ads are distinguishable from a
                  publisher’s content, native ads are styled to blend into the format of a publisher’s site.

                  Native and display ads also differ in part due to constraints placed on ad formats.
                  Native advertising inventory generally has inflexible sizes, formats, and page
                  placement. Moreover, since native advertising is designed to blend in with organic
                  site content, publishers may have strong brand safety standards and creative
                  standards for native ads.

(167)   I further described “three prominent forms of native ads: sponsored listing, social, and content
        recommendation” and explained that “each form is distinct from display advertising from an
        advertiser’s perspective.”283

        ◼     “Sponsored Product or Sponsored Listing ads promote specific products alongside ‘organic’
              product listings on e-commerce sites within search results or in suggested product pages.”284 They
              “are typically shown on a retailer’s site, or on search or product listing pages, limiting the set of
              advertisers and publishers for whom such ads are appropriate.”285
        ◼     “Social media (or ‘in-feed social’) ads appear in social media feeds and closely resemble organic
              posts on those sites.”286 In my initial report I identified several examples of advertisers and
              Google distinguishing between social-in fee ads and open-web display.287 For example, one
              Google executive “testified that Google launched Discovery Ads”—its “product for ads placed on


        280 Israel Report, ¶¶ 251 (“Prof. Simonson’s survey indicates that more than 50 percent of advertisers and agencies (and
            nearly two-thirds of higher-spend advertisers and agencies) that use open web display advertising also use digital video
            advertising”); 252, Figure 29, Figure 30. 23–26 percent is calculated by multiplying each percentage that “will divert
            spending” from Figure 29 by the corresponding “Digital Video” percentage in Figure 30.
        281 Israel Report, n. 284.

        282 Lee Initial Report, ¶ 294.

        283 Lee Initial Report, ¶ 294.

        284 Lee Initial Report, ¶ 49.

        285 Lee Initial Report, ¶ 294.

        286 Lee Initial Report, ¶ 49 (emphasis added).

        287 Lee Initial Report, ¶¶ 294–296.




        HIGHLY CONFIDENTIAL                                                                                                  Page 63
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 38 of 65 PageID#
                                     82748
        Expert Rebuttal Report of Robin S. Lee, PhD




              Google’s ‘O&O feed-like properties’—“because advertisers were asking why they could not get
              the types of social ads from Google that they could get from Facebook and Instagram.”288
        ◼     “Content recommendation ads are collections of links that suggest additional external content for
              users.”289 They “are considered by many industry participants to contain lower quality content
              than display ads” and “website operators tend to place these ad units at the bottom of their pages
              or prefer to not use them at all.”290 “Consistent with content recommendation appealing to
              different advertising needs and advertisers, a 2020 Google presentation noted that a challenge for
              its Matched Content product was a ‘lack of [content recommendation]-specific advertisers.’”291

(168)   Dr. Israel does not address any of these distinctions. Instead, he merely notes that some industry
        participants and documents do not distinguish between native ads and display ads, without addressing
        any of the documents or testimony I identify in my initial report that do distinguish between the
        two.292

(169)   Nor does Dr. Israel present any evidence, or even offer a specific opinion, that advertisers would
        substitute to native ads from open-web display ads if they faced a price increase for open-web display
        advertising (let alone, a price increase for the underlying open-web display advertising tools). Instead,
        Dr. Israel asserts that “the arguments [he] discuss[es] about the competitive constraints that social ads
        impose on Google’s ad tech products also apply to any analysis of native ads, as the two categories
        are largely overlapping.”293 Dr. Israel does not identify any specific arguments to which he is
        referring, however to the extent he is using “social ads” to refer to social media properties using
        integrated advertising tools, I have addressed his arguments in Section IV.B.2.c.i.294


        IV.B.3. Indirect transactions for open-web display advertising provide
        additional distinct value to publishers and advertisers

(170)   As I discussed in my initial report, there are important distinctions between indirect and direct
        transactions for open-web display advertising from the perspective of publisher and advertisers.295
        While advertisements sold through direct deals are often placed in premium ad slots and generally
        command higher prices than inventory sold indirectly, direct transactions typically require more effort

        288 Lee Initial Report, ¶¶ 295–296
        289 Lee Initial Report, ¶ 49.
        290 Lee Initial Report, ¶ 49.

        291 Lee Initial Report, ¶ 297.

        292 Israel Report, ¶¶ 253–254.

        293 Israel Report, ¶ 255.

        294 See e.g., Israel Report, ¶¶ 165 (“social media advertising (which Plaintiffs refer to as part of the ‘closed web’ or ‘walled

            gardens’ or ‘applications or […] websites using integrated advertising tools’”); 218 (“I also observe that there is
            considerable overlap between these categories. For example, Instagram is part of a closed platform (Meta), generates
            most of its content in-app, and sells instream video and what Prof. Lee defines as native ads.”).
        295 Lee Initial Report, Section IV.B.4.




        HIGHLY CONFIDENTIAL                                                                                                     Page 64
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 39 of 65 PageID#
                                     82749
        Expert Rebuttal Report of Robin S. Lee, PhD




        to sell than indirect transactions, and only larger publishers and advertisers generally have personnel
        dedicated to direct sales.296 In contrast, indirect transactions allow publishers to fill their “remnant”
        inventory that may not easily be filled through direct deals.297 Indirect transactions also provide
        advertisers with additional supply of ad slots and allow advertisers to adjust their bids for ad
        inventory in real-time to “buy the ad space they value the most.”298 I showed in my initial report that
        from 2018–2022, roughly 85% of open-web display impressions through DFP were sold indirectly.299

(171)   Consistent with these differences, as I discussed in my initial report, publishers obtain CPM payouts
        for direct transactions that are on average six times higher or more than those they obtain for indirect
        ads.300 Such large price differences are consistent with direct and indirect channels not being close
        substitutes from a publisher’s perspective, since otherwise publishers would have a clear incentive to
        switch inventory from indirect to direct sales channels. Dr. Israel does not present any contrary
        evidence on this point.301

(172)   Dr. Israel argues that I incorrectly exclude direct deals from the relevant markets I discuss and that by
        doing so I ignore a potentially important avenue of substitution.302 He asserts that “direct sales
        (including the use of both programmatic and non-programmatic means) represent an important
        alternative through which advertisers and publishers can interact with each other”303 and that for
        publishers who make both indirect and direct sales, “an important dimension of substitution –
        managed in large part by the ad server – is deciding what inventory to sell directly and what inventory
        to sell indirectly.”304 He argues that even small publishers who do not sell ads directly are protected
        by this competition.305


        296 See Lee Initial Report, Section IV.B.4. See also, Deposition of Ryan Pauley (Vox), August 23, 2023, 59:25–60:5
            (“Direct display generally requires significant more effort and resourcing in order to sell. It generally is at a
            meaningfully higher price compared to the Open Auction.”).
        297 Lee Initial Report, ¶¶ 309–311; See also, Ghose Report, ¶ 254.

        298 Neal Mohan, “A year of the new DoubleClick Ad Exchange: improving large publishers’ returns,” Google Official

            Blog, (blog), January 16, 2011, https://googleblog.blogspot.com/2011/01/year-of-new-doubleclick-ad-exchange.html.
        299 Lee Initial Report, Figure 31.

        300 Lee Initial Report, Figure 32.

        301 Dr. Israel criticizes this price comparison for not focusing on the return on investment (ROI) that advertisers obtain

            from different ad channels. He misses the point of this comparison, which is that such a large price gap is inconsistent
            with close substitution from the publisher’s perspective, irrespective of advertiser incentives. Dr. Israel does not address
            the publisher perspective in his criticism on this point. See Israel Report, ¶ 180 (“Prof. Lee presents data showing that
            direct transactions on DFP yield higher prices (CPMs) than indirect transactions. But, for purposes of defining relevant
            markets in digital advertising, price (CPM) is the wrong metric to compare. This conclusion follows from the fact that
            advertisers care about the return on investment (ROI) that they earn on their advertiser expenditure.”). Dr. Israel is
            wrong and neglects the fact that publishers care about CPM payouts.
        302 See, e.g., Israel Report, ¶ 276 and § IV.D.2.

        303 Israel Report, ¶ 277.

        304 Israel Report, ¶ 280.

        305 See, e.g., Israel Report, ¶ 280 (“Moreover, because competition occurs on the margins—meaning that prices are set to

            compete for those customers most likely to switch to another product—the fact that some publishers currently sell only
            indirectly does not imply that direct sales are not a viable substitute for indirect sales.”).



        HIGHLY CONFIDENTIAL                                                                                                     Page 65
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 40 of 65 PageID#
                                     82750
        Expert Rebuttal Report of Robin S. Lee, PhD




(173)   Here as elsewhere, as I discussed in Section IV.A.1 above, Dr. Israel focuses on the fact of
        substitution rather than whether that substitution is sufficient to prevent a hypothetical monopolist of
        a proposed relevant market from exercising market power. The evidence I discussed in my opening
        report indicates that it is not.306

(174)   In addition, it is important to note here again, as I did earlier in Section IV.B, that Dr. Israel does not
        clearly distinguish between advertising transaction types and the underlying tools used to sell
        advertising, and seems to equate substitution between forms of advertising transactions to substitution
        between the tools that facilitate those transactions. Publishers and advertisers rely on advertiser ad
        networks and exchanges to facilitate the sale of indirect open-web display advertising. Such tools can
        often be used to transact both indirect and direct open-web transactions. Even if there is some
        switching between indirect and direct sales, publishers and advertisers are still reliant on ad
        exchanges and other ad tech tools to sell their indirect impressions for which there are no direct
        deals.307

(175)   Dr. Israel makes two broad points in support of his claim that direct and indirect advertisements are
        close substitutes: 1) there are a substantial number of advertisers and publishers who use both direct
        and indirect methods of transacting ad inventory,308 and 2) advertisers may substitute on the margin
        from indirect to direct transactions based on performance.309 I address each of those points below.




        306 See, e.g., Israel Report, ¶ 276 and § IV.D.2.
        307 As support for his claim that limiting the relevant market to indirect transactions improperly excludes meaningful
            competition from direct transactions, Dr. Israel writes, “Plaintiffs’ expert Prof. Lee claims that, ‘[w]hile ad exchanges
            have begun to facilitate some direct transactions, such as Programmatic Guaranteed and Preferred Deals, the vast
            majority of transactions on exchanges are indirect, most often filled through RTB’ (Lee Initial Report, n. 487). However,
            data from            indicate that much of its revenues are generated via ‘guaranteed’ channels (see
                                       ”. Israel Report, n. 337. There are at least three issues with Dr. Israel’s statement. First, it is
            correct that the vast majority of transactions on exchanges are indirect, most often filled through RTB. See Lee Initial
            Report, n. 115. Second,               exchange data show that the vast majority of its transactions and spend are indirect.
            Data from             on ad spending through its exchange indicate that indirect transactions represent over 80% of its ad
            spending on open-web display impressions. Indeed, including direct transactions in its share calculation does not change
            meaningfully               share.             share of indirect open-web display impressions was 6.5% in 2022, while its
            share of indirect and direct open-web display impressions was 6.4% in 2022. See my backup materials. Third, Dr.
            Israel’s characterization that much of               revenues are generated via guaranteed channels is not supported by the
            document he cites. The document that Dr. Israel cites contains third party estimates of industry revenue—not
            revenue, as Dr. Israel asserts. This is apparent in examining the total revenue in the file Dr. Israel relies on. This file
            contains over $100 billion in ad spending in 2018, while the data that Israel relies upon for his estimate of
            share in the ad exchange market contains a less than $1 billion in 2018. See
                      deck presents the same values that appear in                             for open-auction RTB spending in 2015 and
            2019, citing the source as “IDC Worldwide Digital Advertising Market Model, 1Q15,”).
        308 Israel Report, Figures 20 and 21.

        309 As I discussed in Section IV.A.3 above, advertiser substitution alone is not sufficient to conclude that a hypothetical

            monopolist could not profitably impose a SSNIP. In these arguments as well, Dr. Israel only focuses on advertisers and
            says nothing about publisher substitution.



        HIGHLY CONFIDENTIAL                                                                                                      Page 66
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 41 of 65 PageID#
                                     82751
        Expert Rebuttal Report of Robin S. Lee, PhD




        IV.B.3.a. Advertiser and publisher use of both direct and indirect sales channels

(176)   With respect to the first point, as I explained above in Section IV.A.3, simply using two different
        sales channels does not equate to close substitution between them. In addition, Dr. Israel exaggerates
        the degree to which advertisers use both sales channels.

(177)   Dr. Israel shows in his Figures 20 and 21 that a significant number of advertisers, particularly large
        advertisers, purchase ads through both direct and indirect channels. In his Figure 21, he relies on
        survey results from Prof. Simonson’s report that show that large advertisers and agencies are likely to
        purchase ads through both direct and indirect channels. I do not disagree, as I noted in my initial
        report, that large advertisers often purchase inventory through both direct and indirect channels as
        both provide unique benefits.310 However, Dr. Israel does not highlight the significant percentage of
        large advertisers and agencies who rely only on indirect transactions for their ad spend. In his Figure
        21, taking the survey results at face value, over 50% of agencies and 41% of large advertisers
        reported using only indirect transactions to purchase ad inventory.

(178)   Dr. Israel argues in response that “inframarginal” customers with fewer options are generally
        protected by customers on the margin, who put competitive pressure on firms to keep prices low for
        all customers.311 But Dr. Israel’s claim fails to account for Google’s ability to price discriminate with
        DFP, AdX, and Google Ads and, in some cases, vary fees at the publisher or impression level, which
        means that less price sensitive customers can be particularly targeted by exercises of market power
        regardless of the presence of more price sensitive customers on the margin.312

(179)   A similar pattern is depicted in his Figure 20, which shows distribution of spend across all DV360
        advertisers: close to 40% spend in 2022 was attributed to advertisers who use indirect means only to
        purchase ad inventory, while only 0.2% was attributed to advertisers who solely used Programmatic
        Direct transactions.

(180)   Dr. Israel’s presentations in his Figure 20 and Figure 21 obscure the fact that even among large
        advertisers who are more likely to use both direct and indirect transactions, indirect transactions

        310 Lee Initial Report, ¶ 312.
        311 Israel Report, ¶¶ 280–281 (“Those customers who use both direct and indirect methods face low switching costs
            between the two and are therefore most likely to be the marginal customers that most influence the price (and quality)-
            setting process. There is nothing unusual about this point; in all markets there are some “inframarginal” customers who
            would not consider alternatives, but they are protected by those on the margin who put competitive pressure on the firms
            in question.”). See also, Israel Report, ¶ 190.
        312 Lee Initial Report, ¶¶ 402–403, 514, 539–542. In my initial report, I noted that, “Google’s ability to engage in price

            discrimination and charge different prices to customers without being constrained by customer substitution implies that
            a hypothetical monopolist could also engage in a targeted exercise of market power over customers within a particular
            geographic region.” (Lee Initial Report, ¶ 403). See also, Hal R. Varian, Intermediate Microeconomics: A Modern
            Approach, 9th ed. (New York: W. W. Norton & Company, 2014), 488 (“[T]he market with the higher price must have
            the lower elasticity of demand. Upon reflection, this is quite sensible. An elastic demand is a price-sensitive demand. A
            firm that price discriminates will therefore set a low price for the price-sensitive group and a high price for the group
            that is relatively price insensitive. In this way it maximizes its overall profits.”).



        HIGHLY CONFIDENTIAL                                                                                                  Page 67
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 42 of 65 PageID#
                                   82752
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 43 of 65 PageID#
                                     82753
        Expert Rebuttal Report of Robin S. Lee, PhD




        being primarily used for premium inventory.315 As I show in my initial report, even if there may be
        some substitution between direct and indirect transactions for advertisers, testimony from industry
        participants supports the idea that it is difficult to shift significant demand between indirect and direct
        advertising in response to relative price movements.316

(182)   As additional evidence of advertiser and publisher substitution between direct and indirect deals, Dr.
        Israel proposes examining the “natural experiment” of the deprecation of third-party cookies.317
        Specifically, he states “the deprecation of third-party cookies has led advertisers (and publishers) to
        substitute from indirect purchases (and open auction purchases specifically) to direct deals.”318 In
        support of this point he cites a news article, but provides no empirical evidence that either advertisers
        or publishers actually substituted meaningfully between these transaction types in response to cookie
        deprecation. Figures 16 and 31 of my initial report show, in contrast, that the share of both spend and
        impressions attributed to indirect deals for DFP has remained stable between 2018 and 2022. And
        even if advertisers or publishers did switch meaningfully in response to a cookie deprecation, this
        may not be informative of the response to a small but significant increase in price of ad tech products
        relative to competitive levels, since a one-time cookie deprecation may be equivalent to a much
        greater price increase (and is measured at potentially elevated levels).

(183)   Finally, even if one were to ignore the clear evidence that indirect transactions provide distinct value
        to advertisers and publishers and direct transactions are not close enough substitutes to discipline an
        exercise of market power, the inclusion of programmatic direct transactions does not meaningfully

        315




        316 See e.g., Deposition of Ryan Pauley (Vox), August 23, 2023, 65:25–66:13 ([Given an increase in take rates on OA
            transactions], “it would be very difficult to transition any demand to—from open to direct.”); Deposition of Krishan
            Bhatia (Comcast/NBC), Sep. 21, 2023, 167:23-169:4 (“Q. If the cost to purchase display advertising through indirect
            channels increased substantially, would advertisers attempt to shift their spending from purchasing indirectly to
            purchasing directly from NBCU?...[A:] I think that depends. I think pricing is only one consideration why one buys
            direct versus indirect…It depends on the priorities of the advertiser. If the advertiser is looking to spend a smaller budget
            across a larger group of publishers and employ targeting at scale, programmatic is likely their preferred method. If a
            publi- -- if a marketer is looking to align themselves with a larger budget specifically to, in this case an NBCUniversal
            property through a sponsorship or a share of voice, by -- then a direct way of buying would be the preferred method.”).
        317 Third-party cookies are the technology that enables cross-site tracking on the web. Third-party cookie deprecation

            decreases the value of many indirect open-web display impressions because it decreases the amount of tracking
            information available to advertisers. As Dr. Israel explains, “policies that restrict the use of third-party cookies decrease
            the quality of open auction purchases of advertising inventory.” Israel Report, ¶ 212. See also, Google, “Preparing for
            the end of third-party cookies,” Privacy Sandbox, October 11, 2023, https://developers.google.com/privacy-
            sandbox/blog/cookie-countdown-2023oct.
        318 Israel Report, ¶¶ 212, 284.




        HIGHLY CONFIDENTIAL                                                                                                     Page 69
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 44 of 65 PageID#
                                     82754
        Expert Rebuttal Report of Robin S. Lee, PhD




        affect my calculations of market shares in either the advertiser ad network or exchange markets, as I
        show in Sections IV.D.2 and IV.E.2 below.319


        IV.C. Publisher ad servers is a relevant product market
(184)   In my initial report, I discussed why publisher ad servers that can be used to serve or transact open-
        web display advertising (henceforth, “publisher ad servers”) are a relevant antitrust product market
        and useful for analyzing Google’s scrutinized conduct.320

(185)   Publisher ad servers are software products that can be used to manage and sell both direct and indirect
        display advertising across web properties. These products allow publishers to set rules to manage
        different transactions types in real-time (i.e., implementing “decision logic” on behalf of publishers),
        and provide other features including collecting and utilizing targeting information and tracking ad
        performance.321 Publisher ad servers are particularly important for publishers with more complex
        display advertising needs, including those seeking to meet the pricing and scheduling requirements of
        direct deals while also allocating inventory via RTB.322

(186)   Moreover, a firm possessing substantial and sustained market power over publisher ad servers,
        protected by significant barriers to entry, would be able to engage in conduct harming competition
        among publisher ad servers as well as among other ad tech products, including ad exchanges. Indeed,
        numerous Google documents have emphasized the strategic importance of its DFP product and have
        specifically called out the important role played by publisher ad servers in the ad tech stack.323 By
        controlling what Google documents have referred to as the ad serving “decision engine,” Google can
        lock in customers and enhance its market power across the ad tech stack.324

(187)   Despite the evidence to the contrary, Dr. Israel claims that publisher ad servers do not “constitute a
        well-defined antitrust market,” arguing that because publishers have “alternative options [that] do
        function in somewhat different ways” to third-party publisher ad servers, a market for publisher ad
        servers for open web display advertising “defines away healthy competition that exists.”325 He claims


        319 As I show in Section IV.D.2, including programmatic direct transactions in my calculation of exchange shares decreases
            AdX’s share by roughly one percentage point in 2022 (see my backup materials). As I show in Section IV.E.2, doing the
            same for the advertiser ad network market changes Google Ads’ share by less than one percentage point (see my backup
            materials). The shares I calculated in my initial report for the publisher ad server market included both direct and
            indirect transactions as a publisher ad server needs to be able to serve both forms of advertisements (see Lee Initial
            Report, § V.B.2).
        320 Lee Initial Report, § IV.C.

        321 Lee Initial Report, ¶ 316.

        322 Lee Initial Report, ¶ 316.

        323 Lee Initial Report, § VII.A.1.

        324 Lee Initial Report, ¶ 587.

        325 Israel Report, § IV.E, ¶ 297.




        HIGHLY CONFIDENTIAL                                                                                               Page 70
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 45 of 65 PageID#
                                     82755
        Expert Rebuttal Report of Robin S. Lee, PhD




        that web publishers’ abilities to substitute to in-app content and to “in-house” servers “impose
        important competitive constraints on DFP.”326

(188)   In this Section, I discuss why Dr. Israel’s arguments regarding these potential substitutes are
        insufficient to support his claim that a market for publisher ad servers is not well-defined. I also
        discuss why Dr. Israel’s alternative market share calculations that include transactions from
        publishers with integrated ad servers (Meta, Pinterest, Snapchat, and TikTok), and from transactions
        from app mediation platforms and exchanges, are not appropriate for evaluating the market power of
        Google’s DFP publisher ad server.


        IV.C.1. Dr. Israel’s analysis fails to demonstrate that publisher ad servers is
        not a relevant product market

(189)   In arguing that publisher ad servers does not constitute a properly defined market, Dr. Israel presents
        two alternatives to publisher ad servers that that he claims “impose important competitive constraints
        on DFP”: open-web publishers could shift more content and usage from web to other formats (in
        particular, in-app content), or open-web publishers could build their own publisher ad servers.327 The
        arguments that he provides are insufficient to support his claim that publisher ad servers are not a
        well-defined relevant product market.

(190)   First and foremost, the presence of potential substitutes for some customers outside of the relevant
        market does not necessarily invalidate that market. The relevant criterion for whether potential
        alternatives are close enough substitutes to warrant inclusion is whether they would impose a
        sufficient competitive discipline to prevent a hypothetical monopolist of publisher ad servers for
        open-web display advertising from exercising market power over competitive levels (see Section
        IV.A.1 above).

(191)   Second, Dr. Israel fails to address direct evidence of DFP’s market power, which on its own strongly
        supports the existence of a relevant publisher ad server market: if Google is able to exercise
        significant market power with DFP, a hypothetical monopolist controlling DFP and additional
        products would be able to do so as well.328 Direct evidence includes Google’s own internal analyses
        indicating publishers’ limited ability to substitute away from DFP in the event of a price increase.329

(192)   With respect to Dr. Israel’s specific alternatives, I explained in my initial report why these particular
        substitutes (and others) are not likely close enough substitutes to constrain the exercise of market
        326 Israel Report, ¶ 297.
        327 Israel Report, ¶ 297.
        328 Lee Initial Report, § V.B.3. In n. 357, Dr. Israel claims to address direct evidence of DFP’s market power in Sections

            VIII.A.2 (pricing) and VIII.D (conduct) of his report. However, as I discuss below in Section V.B, despite this claim, he
            does not rebut much of the direct evidence presented regarding DFP’s substantial market power.
        329 Lee Initial Report, ¶ 458.




        HIGHLY CONFIDENTIAL                                                                                                  Page 71
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 46 of 65 PageID#
                                     82756
        Expert Rebuttal Report of Robin S. Lee, PhD




        power by a hypothetical monopolist of publisher ad servers.330 Dr. Israel largely does not address the
        evidence I presented in my opening report on these points.331 Nor does he explain why publishers’
        content provision strategies or decisions to build their own server would be sensitive enough to ad
        serving fees such that they would constrain a hypothetical monopolist of publisher ad servers from
        exercising market power.332

(193)   Below I review the arguments and evidence presented by Dr. Israel and discuss why they do not alter
        my opinion that publisher ad servers is a relevant product market.

        IV.C.1.a. Web publishers shifting content or users to mobile applications is not sufficient to
        defeat an exercise of market power by a hypothetical monopolist of publisher ad servers

(194)   In my initial report, I noted that a web publisher’s options for using advertising is limited by the
        nature of the content that it offers.333 In particular, even if a web publisher has a mobile application, it
        is not the case that the publisher could use in-app display ads to monetize its web inventory—a given
        display impression is either web or in-app.

(195)   However, Dr. Israel argues that open-web publishers “have options that include focusing more
        attention on other formats for content, including app-based options” to shift user behavior.334 Setting
        aside substantial direct evidence that DFP has and is already exercising significant market power
        despite these options (thereby supporting a publisher ad server market that contains DFP), there are
        several additional reasons why Dr. Israel’s argument does not invalidate a publisher ad server market.

(196)   First, Dr. Israel ignores that products within the publisher ad server market also serve in-app ads. A
        product is contained in the publisher ad server market if it can serve open-web display ads; products,

        330 Lee Initial Report, § IV.C.1.
        331 Lee Initial Report, ¶¶ 458–459. As noted in my initial report, a 2019 Google document stated that the “market [would]
            bear” a 10% increase in DFP’s price (GOOG-DOJ-09712720, at -809 (08/07/2019)). In addition, a 2018 Google
            document stated that “[r]ais[ing] DFP serving fee ~20%” without changing AdX’s price would lead to an increase in net
            revenue by $40-$50 million (GOOG-TEX-00124787, at -798 (07/09/2018)). As far back as 2010, Google noted that
            DFP’s rate card was 50-100% higher than competitors in in the US and that “customers are willing to pay a premium for
            DFP” (GOOG-AT-MDL-B-000030077, at -084, -089 (05/13/2010)).
        332 Indeed, Google’s counsel during its DoubleClick Acquisition submitted a letter to the FTC that stated, “As a Matter of

            Commercial Reality, the Cost of Ad Serving Does Not Affect a Publisher’s Inventory Allocation Decision… the price of
            publisher-side ad serving [] is a tiny fraction of the price the publisher receives for ad space… To take a concrete
            example, suppose a publisher paid 4 cents per thousand impressions in ad serving fees and generated $2 per thousand
            impressions on the sale of its ad space, netting $1.96 per thousand impressions after paying its ad server. If ad serving
            fees increased by 5% to 4.2 cents per thousand impressions, the publishers’ net revenue on the space would drop by .1%
            from $1.96 to $1.958. This .1% change is a small and insignificant change in the net revenue from the ad space.”
            FTC_US-GOOGLE-000004694 at -697(8/9/2007).(FTC_US-GOOGLE-000004694, at -697, (8/9/2007)). (Dr. Israel
            also uses a $2 per thousand impression revenue figure in his analysis of the cost of building a publisher ad server, Israel
            Report, ¶ 311). Although the letter was discussing substitution between DFP and AdSense, its assertion that publisher ad
            server costs “do[] not affect a publisher’s revenue-driven decision as to how to allocate its inventory” is at odds with Dr.
            Israel’s claims. (FTC_US-GOOGLE-000004694 at -698 (8/9/2007).).
        333 Lee Initial Report, § IV.B.1.a.

        334 Israel Report, ¶ 298.




        HIGHLY CONFIDENTIAL                                                                                                    Page 72
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 47 of 65 PageID#
                                     82757
        Expert Rebuttal Report of Robin S. Lee, PhD




(229)   Below I discuss why Dr. Israel’s arguments are insufficient to support his claim that a market for ad
        exchanges is not well-defined. I also describe why Dr. Israel’s alternative market share calculations
        for ad exchanges are not appropriate for evaluating Google’s market power with its AdX ad
        exchange.


        IV.D.1. Dr. Israel’s analysis fails to demonstrate that ad exchanges is not a
        relevant product market

(230)   Dr. Israel claims that ad exchanges do not “constitute a well-defined antitrust product market.”374 Dr.
        Israel’s primary argument is that “exchanges must compete with any option that connects buyers and
        sellers” and that these options would constrain an exercise of market power that market.375 He notes
        that “direct deals between advertisers and publishers provide one important example of such an
        alternative..”376 He also lists options that sell forms of advertising other than open-web display as
        constraints on exchanges that transact open-web display advertising.377 Though he points to “any
        option to connect buyers and sellers” as a constraint on ad exchanges, he does not discuss alternative
        ad tech products that connect advertisers and publishers directly when specifically addressing the
        validity of an ad exchange market; rather, he discusses those products in his broader critique of
        “component specific” markets, which resides in a different section of his report.378 I respond to that
        broader critique in Section IV.F.2 below.

(231)   As I noted above in the case of the publisher ad server market, the presence of potential substitutes for
        some customers outside of a relevant market does not necessarily invalidate that market. In this case,
        the relevant criterion for whether potential alternatives are close enough substitutes to warrant
        inclusion is whether they would impose a sufficient competitive discipline to prevent a hypothetical
        monopolist of ad exchanges for open-web display advertising from exercising market power over
        competitive levels.379 Dr. Israel presents no evidence that a monopolist would be constrained in this
        fashion by his purported alternatives. Moreover, Dr. Israel fails to address much of the direct
        evidence I presented of AdX’s market power, which on its own strongly supports the existence of an
        ad exchange market.380




        374 Israel Report, § IV.D (Plaintiffs’ Alleged “Ad Exchanges for Indirect Open Web Display Advertising” Market Does Not
            Constitute a Well-Defined Antitrust Product Market).
        375 Israel Report, ¶ 269.

        376 Israel Report, ¶ 269.

        377 Israel Report, ¶ 269.

        378 Israel Report, § IV.F.

        379 See discussion in Section IV.A.1 above.

        380 Lee Initial Report, § V.B.3. In n. 357, Dr. Israel claims to address direct evidence of AdX’s market power in Sections

            VIII.A.2 (pricing) and VIII.D (conduct) of his report. However, as I discuss below in Section V.C, despite this claim, he
            does not rebut much of the direct evidence presented regarding AdX’s substantial market power.



        HIGHLY CONFIDENTIAL                                                                                                  Page 81
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 48 of 65 PageID#
                                   82758
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 49 of 65 PageID#
                                     82759
        Expert Rebuttal Report of Robin S. Lee, PhD




        when programmatic direct and programmatic guaranteed transactions through ad exchanges are
        included.406

(249)   Second, in his Figure 48, Dr. Israel also calculates Google’s share of spending among “all US display
        advertising,” using as a numerator spending on Google’s AdX, AdSense, AdMob, YouTube, and
        “other Google O&O display,” and using as a denominator total “display” ad spending from
        eMarketer, which includes spending on social media, instream video, and in-app advertising.407 Both
        the numerator and denominator include transactions from products that do not compete with AdX in
        the market for open-web display advertising. For instance, eMarketer includes display ad spending
        from ads such as Facebook’s News Feed Ads and Twitter’s Promoted Tweets.

(250)   The fundamental problem with this share calculation, as discussed above (see also discussion in
        Section IV.C.2), is that these market shares are computed for a set of products that no one, including
        Dr. Israel, has argued is a relevant product market appropriate for evaluating the conduct in question.
        Hence, these shares are also not informative for an assessment of Google’s market power.


        IV.E. Advertiser ad networks is a relevant product market
(251)   In my initial report, I discussed why advertiser ad networks that can be used to transact open-web
        display advertising (henceforth “advertiser ad networks”) is an appropriate relevant antitrust market
        for analyzing the conduct at issue in this matter.408 As I discussed in that report, advertiser ad
        networks are distinct from other advertiser bidding tools that transact open-web display advertising,
        such as DSPs, in their functionality, the inventory they access, and their pricing models.409 In
        addition, a variety of evidence demonstrates that Google Ads can exercise substantial market power,
        which supports the notion that it is not constrained by competitors outside of the advertiser ad
        network market.410




        406 See my backup materials.
        407 Israel Report, ¶ 289. eMarketer is a market research company that provides estimates of ad spending based on historical
            trends, reported revenues from major ad publishers, estimates from other research forms, and other data sources. The
            eMarketer estimate of “display” ad spending, which Dr. Israel uses as his denominator for his Figure 48, includes
            spending on advertising outside of the indirect open-web display market, including instream video and native
            advertising. GOOG-AT-DOJ-DATA-000066787 (eMarketer data).
        408 Lee Initial Report, § IV.E.

        409 Lee Initial Report, § IV.E.. See also, GOOG-DOJ-AT-00312340, at -343 (03/25/2020) (Noting that “Google Ads full

            automation” is “not what large advertisers need/desire (they want transparency, control)”).
        410 Lee Initial Report, § V.D.3.




        HIGHLY CONFIDENTIAL                                                                                                 Page 87
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 50 of 65 PageID#
                                     82760
        Expert Rebuttal Report of Robin S. Lee, PhD




        constrain the market power of a hypothetical monopolist over ad exchanges. In addition, as I showed
        in my initial report, including some of these products in share calculations does not change market
        shares meaningfully.524

(338)   Dr. Israel also mentions Criteo’s Direct Bidder, Criteo’s header bidding product launched in May
        2017, and Mediavine’s direct integration with Centro’s Basis DSP, established in July 2020 as
        alternative “paths” for buyers and sellers that constrain an exercise of market power in ad exchanges.
        Both of these products also do not have the adoption necessary to constrain an exercise of market
        power in ad exchanges. As shown in Figure 33 in Section V.D.1, Criteo’s Direct Bidder receives a
        miniscule fraction of the revenue that Google AdX receives. In addition, Mediavine CEO Eric
        Hochberger testified that its direct integration with DSPs is exclusively available to Mediavine
        publishers, and, thus, is not an option for the vast majority of publishers.525


        IV.E.5. Dr. Ghose’s discussion of “alternative pathways and tools” obscures
        the central role played by publisher ad servers, ad exchanges, and advertiser
        ad networks

(339)   Dr. Ghose argues that “[c]ontrary to the picture painted by Plaintiffs’ experts, display ads can be
        transacted though many pathways and tools”526 and that “[p]laintiffs ignore years of evolution in ad
        tech that has enabled publishers and advertisers to select permutations of direct or indirect display ad
        transactions, involving one or more internally developed or externally sourced ad tech tools.”527

(340)   In support of this argument, Dr. Ghose presents his Table 1, reproduced below, which lists nine
        pathways available to connect publishers and advertisers for display ad transactions. He claims that of
        the nine paths listed in the table, “Path 5 is one of the few pathways that Plaintiffs focus on.”528



            TV buys to programmatic model.”). See also GOOG-AT-MDL-010373135, at -136 (05/19/2023) (“Magnite Clearline
            claims to offer a direct path for brands to video inventory, skipping the DSP, FW tech is not advanced enough to
            accommodate this. They have no direct seats right now. This is a vision for them but not confidence on whether they
            could execute.”); ADFORM-001835, at -884 (05/2023) (“The value added by the DSP far outweigh any immediate cost
            savings that initially make these setups appealing for the vast majority of use cases.”).
        524 See Lee Initial Report, Figure 88 and Figure 89. Including transactions from DSPs connecting directly to publisher ad

            servers, AdX maintained between a 53% and 63% share of worldwide impressions and between a 42% and 48% share of
            worldwide fees between 2018 and 2022. Limited to transactions served to users in the United States, AdX’s share of
            impressions was between 46% and 54% and its share of fees was between 36% and 43% between 2018 and 2022.
        525 Deposition of Eric Hochberger (Mediavine), September 22, 2023, 39:17–40:7 (“Q. Does Mediavine have its own ad

            exchange? A. We do have some direct integrations with demand side platforms. So you could look at it as an exchange.
            But it is exclusively for our own publishers. So I don't think that term would commonly be used. Q. So it's only for
            owned and operated publishers. Is that what you're saying? A. Or publishers that we are -- do full service ad
            management. In which case, in our industry, we are looked at as the supplier, the publishing side. So you wouldn't look
            at it as an ad exchange in our industry.”).
        526 Ghose Report, ¶ 233.

        527 Ghose Report, ¶ 233.

        528 Ghose Report, ¶ 239.




        HIGHLY CONFIDENTIAL                                                                                              Page 114
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 51 of 65 PageID#
                                     82761
        Expert Rebuttal Report of Robin S. Lee, PhD




        Figure 20. Reproduction of Dr. Ghose’s Table 1




(341)   Contrary to his interpretation, Dr. Ghose’s Table 1 highlights the indispensable role that products
        contained in the three relevant product markets play in facilitating connections between open-web
        advertisers and publishers. Indeed, publisher ad servers, ad exchanges, and advertiser ad networks are
        central to eight of the nine paths highlighted by Dr. Ghose. Figure 21 below reproduces Prof. Ghose’s
        Table 1, but highlights the publisher ad server (in blue), ad exchange (in orange) and advertiser ad
        network (in green) products. This view of Dr. Ghose’s table makes clear that only one of the nine
        pathways avoids the three product markets I discuss in my report: Path 1. That path, which represents
        integrated in-house ad tech tools such as those of Meta and TikTok,529 contains “self-service”
        products that are properly excluded from open-web display advertising markets for reasons I
        discussed in Section IV.B above.




        529   Ghose Report, ¶ 234 (“Path 1 represents self-service platforms, which are in-house ad tech tools that allow advertisers
              to buy impressions directly from publishers running owned-and-operated platforms.”).



        HIGHLY CONFIDENTIAL                                                                                                  Page 115
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 52 of 65 PageID#
                                     82762
        Expert Rebuttal Report of Robin S. Lee, PhD




        Figure 21. Illustration of role of publisher ad servers, ad exchanges, and advertiser ad networks in
        connecting advertisers and publishers




        IV.F. Relevant geographic markets for publisher ad servers, ad
        exchanges, and advertiser ad networks
(342)   In my initial report, I described why the United States is a relevant geographic market for all three
        relevant product markets.530




        530   Lee Initial Report, § IV.F.2. There, I noted that a hypothetical monopolist of each relevant product market would likely
              be able to profitably exercise market power over all advertiser and open-web publisher customers within the United
              States without being constrained by pricing for customers located outside of the United States. Moreover, he competitive
              effects of Google’s conduct are likely to be particularly meaningful within the US: a meaningful share of Google’s
              revenues and those from other parties from open-web display advertising originate from customers within the US.



        HIGHLY CONFIDENTIAL                                                                                                 Page 116
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 53 of 65 PageID#
                                     82763
        Expert Rebuttal Report of Robin S. Lee, PhD




(343)   I also discussed why the entire world, excluding a limited number of regions (henceforth,
        “worldwide”) is a relevant geographic market for all three relevant product markets.531 I provided
        three reasons why worldwide is an appropriate geographic market for evaluating Google’s market
        power in the relevant product markets and the competitive effects of its conduct:

        ◼     1. Customers of all three relevant product markets (advertisers and open-web publishers) are
              located worldwide, and transact across country and region boundaries.
        ◼     2. “Supply-side” competition among ad tech providers is global: the major competitors in each
              relevant product market serve customers across multiple countries, and scale effects are not
              contained within country-specific boundaries. For example, an ad tech product with greater
              publisher inventory across different countries likely is better able to offer advertisers the ability to
              target and access users that visit those publishers than one confined to a single country.
        ◼     3. Google’s conduct that I evaluate in this report is not limited to the boundaries of any one
              country. Google has imposed restrictions on the use of its Google Ads, ADX, and DFP products
              by open-web publishers and advertisers located worldwide. Hence, the competitive effects of
              Google’s conduct extend beyond any individual country’s borders.

(344)   Even though both worldwide and the United States fulfill the criteria for being relevant geographic
        markets, as I noted in my initial report,532

(345)   The ad tech industry and scope of Google’s conduct is [] global. Although there may be some
        differences in competitive conditions within narrower geographic regions, there are compelling
        benefits to examining the whole world when examining the competitive significance and effects of
        Google’s conduct within the relevant product markets.

(346)   Hence, to obtain a complete picture of the scope and impact of Google’s conduct, it is important to
        consider its market power and outcomes outside the boundaries of a single country.


        IV.F.1. Dr. Israel incorrectly dismisses the appropriateness of a worldwide
        geographic market

(347)   Dr. Israel disputes the appropriateness of analyzing a worldwide market, arguing that “it is more
        appropriate to assess competition and the effects of Google’s challenged conduct in a geographic
        market limited to the United States.”533 He opines that although a worldwide market would pass a
        hypothetical monopolist test if a US market did, it is only appropriate to analyze a worldwide market

        531 Lee Initial Report, § IV.F.1. Moreover, I describe why the exclusion of a small number of regions where Google has
            limited presence or is restricted from operating in due to US sanctions does not prevent a hypothetical monopolist from
            profitably exercising market power.
        532 Lee Initial Report, ¶ 389.

        533 Israel Report, ¶ 49.




        HIGHLY CONFIDENTIAL                                                                                                Page 117
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 54 of 65 PageID#
                                     82764
        Expert Rebuttal Report of Robin S. Lee, PhD




        if “data from the rest of the world – market share data more specifically – are informative when
        analyzing competition in the United States.”534 He argues that differences in competitive conditions
        across countries as well as differences in regulatory regimes mean that shares in other countries are
        not informative about competition in the United States.535

(348)   Dr. Israel is incorrect to assert that “it is appropriate to expand the market” based solely on the
        informativeness of market share data. Notably, Dr. Israel ignores and does not address the three
        reasons described above and discussed in my initial report for the appropriateness of analyzing a
        worldwide market.

(349)   Moreover, geographic markets are generally defined based on the location of suppliers or the location
        of customers.536 I argued that a market based on the location of customers – that is, the advertisers and
        publishers that purchase the ad tech tools at issue – is appropriate for analyzing the conduct in this
        matter.537 One difficulty that presents itself in calculating shares in a US market is that the location of
        advertisers and publishers is not always clear from the data.538 In these cases, I used ad impressions
        served to US viewers as way to examine an ad tech product’s attractiveness to customers located in
        the US.539 Dr. Israel does not discuss whose location he is basing his market on – suppliers,
        customers, or viewers of advertisements – and he presents no rationale for which type of location he
        restricts a given analysis to.540

(350)   By Dr. Israel’s own criterion – that worldwide data are informative when analyzing competition in
        the United States – it is appropriate to evaluate a worldwide market in this matter. As I discussed in
        my initial report, scale, as measured by number of impressions, is important in ad tech products for a
        variety of reasons, including allowing them to operate more cost efficiently, and because additional


        534 Israel Report, ¶ 365.
        535 See, e.g., Israel Report, ¶ 365 (“But whether it is appropriate to expand the market in this way depends on whether data
            from the rest of the world—market share data more specifically—are informative when analyzing competition from the
            United States (or, more generally, whether shares from one country are informative about competition in another
            country).”); ¶ 367 (“in this case, the evidence clearly indicates that competitive conditions vary significantly across
            geographies.”); ¶ 371 “(“Hence, differences in competitive conditions between the United States and Europe likely
            reflect, at least in part, substantially different regulatory conditions, a situation in which a worldwide market is likely to
            be inappropriate.”).
        536 Lee Initial Report, ¶ 387.

        537 Lee Initial Report, ¶ 387 (“A relevant geographic market can be based on the locations of customers (buyers or sellers of

            open- web display advertising). In this report, I focus on geographic market definition based on customer location—i.e.,
            where open-web publishers and advertisers are located—and do not place restrictions on the location of suppliers.”).
        538 Lee Initial Report, ¶ 486 (“Due to data limitations, I am unable to compute reliable ad exchange market shares based on

            transactions restricted to ad exchange customer locations—i.e., based on transactions involving US open-web publishers
            or US advertisers. However, I am able to present market shares based on user locations—i.e., based on the location of
            the visitor to a publisher’s website.”).
        539 Lee Initial Report, ¶¶ 486–489.

        540 See, e.g., Israel Report, Figure 57, in which Dr. Israel presents shares of DFP impressions served to US and non-US

            users, identifying US impressions from AdX based on user location and US impressions from Google Ads based on
            advertiser location.



        HIGHLY CONFIDENTIAL                                                                                                     Page 118
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 55 of 65 PageID#
                                     82765
        Expert Rebuttal Report of Robin S. Lee, PhD




        scale generates more data which improves ad tech product quality.541 The competitive strength in the
        United States of a firm with a 30% US share but de minimis worldwide share would be very different
        than a firm with a 30% US share and 40% of the worldwide share.

(351)   Additionally, the main participants in the three relevant product markets operate worldwide, not just
        in the United States. Customers on both sides of the market, advertisers and publishers, operate across
        national boundaries.542 Dr. Israel points to variations in market shares across particular countries as
        reasons why each country should be analyzed separately, but doing so again overlooks similarities in
        the competitive landscape across countries in the relevant product markets.

(352)   For example, focusing on ad exchanges transacting indirect open-web display impressions, the set of
        top exchanges and AdX’s high market share among them are similar across countries. Figure 22
        below shows the DV360 spending shares of the top 10 US exchanges across the five countries with
        the highest total spending on DV360.543 These 10 exchanges represented about 90% of indirect open-
        web display spending on DV360 across each of these five countries. AdX had the highest share of
        spending on DV360 by a large margin across all five countries, representing between 48% and 56%
        of spending.




        541 Lee Initial Report, §§ III.D.2 and III.D.3.
        542 Lee Initial Report, ¶ 5 and Figure 40.
        543 “Top 10 US exchanges” is defined as the 10 exchanges with the highest spending on indirect open-web display

            transactions served to users in the United States within DV360 data.



        HIGHLY CONFIDENTIAL                                                                                               Page 119
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 56 of 65 PageID#
                                   82766
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 57 of 65 PageID#
                                     82767
        Expert Rebuttal Report of Robin S. Lee, PhD




        can lead to a better understanding of the overall competitive effects of that conduct. In this matter, for
        the relevant product markets at issue, all of these conditions hold. US customers are impacted not just
        directly by Google’s conduct in the United States but also indirectly by Google’s conduct worldwide,
        which impacts the competitive options available to US customers through the channels described
        above.

(355)   An example of this approach can be seen in the US government’s 1998 case against Microsoft. In that
        case, the government alleged that Microsoft had engaged in anticompetitive conduct to protect its
        worldwide operating system monopoly, using a series of exclusionary contracts with computer OEMs
        and Internet service providers (ISPs) to stifle competition.544 Though the details of the contracts, the
        legal and regulatory regime, and the competitive landscape likely varied across countries, the
        Plaintiffs argued that these contracts were all part of a strategy to limit competition in a worldwide
        geographic market.545 The Court accepted a worldwide relevant geographic market.546


        IV.F.2. My conclusions do not change whether the product markets are
        analyzed on a worldwide or US

(356)   None of my conclusions change whether the relevant product markets are found to be worldwide of
        US markets. The challenged conduct is the same within both geographies, and the sources of
        Google’s market power are essentially the same within both geographies. Though there are some
        differences in market shares depending on the geographic region and the data used, these differences

        544 Complaint, U.S. v. Microsoft Corp., Civil Action No. 98-1232 (D.D.C. May 18, 1998), ¶ 5,
            https://www.justice.gov/atr/complaint-us-v-microsoft-corp. (“To protect its valuable Windows monopoly against such
            potential competitive threats, and to extend its operating system monopoly into other software markets, Microsoft has
            engaged in a series of anticompetitive activities. Microsoft's conduct includes agreements tying other Microsoft software
            products to Microsoft's Windows operating system; exclusionary agreements precluding companies from distributing,
            promoting, buying, or using products of Microsoft's software competitors or potential competitors; and exclusionary
            agreements restricting the right of companies to provide services or resources to Microsoft's software competitors or
            potential competitors.”).
        545 Complaint, U.S. v. Microsoft Corp., Civil Action No. 98-1232 (D.D.C. May 18, 1998), ¶ 54 (“the geographic market for

            PC operating systems is worldwide.”). See also, United States v. Microsoft Corp., 84 F. Supp. 2d 9 (D.D.C. 1999), ¶18
            (“Currently there are no products, nor are there likely to be any in the near future, that a significant percentage of
            consumers world-wide could substitute for Intel-compatible PC operating systems without incurring substantial costs.
            Furthermore, no firm that does not currently market Intel-compatible PC operating systems could start doing so in a way
            that would, within a reasonably short period of time, present a significant percentage of consumers with a viable
            alternative to existing Intel-compatible PC operating systems. It follows that, if one firm controlled the licensing of all
            Intel-compatible PC operating systems world-wide, it could set the price of a license substantially above that which
            would be charged in a competitive market and leave the price there for a significant period of time without losing so
            many customers as to make the action unprofitable. Therefore, in determining the level of Microsoft's market power, the
            relevant market is the licensing of all Intel-compatible PC operating systems world-wide.”).
        546 United States v. Microsoft Corp., 84 F. Supp. 2d 9 (D.D.C. 1999), ¶ 18 (“Therefore, in determining the level of

            Microsoft’s market power, the relevant market is the licensing of all Intel-compatible PC operating systems world-
            wide.”). See also, United States v. Microsoft Corp., 253 F.3d 34 (D.C. Cir. 2001) (Noting that “[i]n this case, the District
            Court defined the market as ‘the licensing of all Intel-compatible PC operating systems worldwide,’ finding that there
            are ‘currently no products--and ... there are not likely to be any in the near future--that a significant percentage of
            computer users worldwide could substitute for [these operating systems] without incurring substantial costs.’” and
            subsequently, that “[a] remand on market definition is unnecessary…”).



        HIGHLY CONFIDENTIAL                                                                                                   Page 121
  Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 58 of 65 PageID#
                                     82768
        Expert Rebuttal Report of Robin S. Lee, PhD




(456)   In Section VIII.A.2 of his report, Dr. Israel presents a series of figures that compare ad exchange,
        advertiser ad network, and DSP fees. In this section and in Section V.D.2, I show how Israel’s
        analyses are misleading, and when appropriately presented, are consistent with the evidence of
        Google’s ability to charge supracompetitive prices that I present here and in my initial report. In this
        section, I address Israel’s Figures 75 and 76.721

        V.C.2.a. Dr. Israel’s comparisons of AdX’s take rate to other exchanges are misleading

(457)   Figure 75 in Dr. Israel’s report compares average ad exchange take rates for 2020–2022. This figure
        “include[s] all transaction types and ad formats.” Dr. Israel includes in his backup, but does not
        present, a different version of this figure, which contains “estimates limited to indirect web non-video
        impressions where available.”722

(458)   Relying on these figures, Dr. Israel claims that Google’s fees are not systematically higher than
        competitors’ fees. However, the figure in Dr. Israel’s backup that is limited to “indirect web non-
        video” impressions looks very different than Figure 75.

(459)   In the version limited to indirect web non-video impressions, AdX’s take rates are higher than every
        other exchange pictured except for           , which had a 2% US impression share in 2022.723 See
        Figure 29.


            this is compositional and driven by transactions outside of the relevant market. (“Non-Open Auction transactions grew
            from 11 percent of gross revenue in 2014 to 25 percent of gross revenue in 2022.”). These “Non-Open Auction”
            transactions include Preferred Deal and Programmatic Guaranteed transactions which have a lower AdX take rate. See
            also, Lee Initial Report, ¶ 139, citing GOOG-AT-MDL-006217592, 10/31/2022, at -289 (Google’s response to the
            European Commission, stating “Google’s standard revenue share rate for Open Auction and Private Auction
            transactions is 20%, and Google’s standard rate for Preferred Deal and Programmatic Guaranteed is 10%.”).
        721 In Section V.D, I address Figure 74 in which Israel presents fees for advertiser ad networks and DSPs, as well as the

            portion of Figure 77 that contains advertiser ad network fees.
        722 Israel Report, n. 778.

        723 Although             has higher fees than AdX on indirect non-video impressions,               also has a 1% share
            worldwide, in contrast to AdX’s 57% share.                   higher fees and much, much lower share do not change my
            conclusion about Google’s market power in the ad exchange market. A niche rival can have higher fees than a firm with
            monopoly power if that niche firms is differentiated and sells to a small set of customers. For example, a hypothetical
            monopolist of all cars that are currently sold for less than $100,000 would likely possess substantial market power, even
            if on average its prices were much lower than a small firm in that market that sold only $90,000 cars.
            There is evidence that            is differentiated from other ad exchanges. See, e.g.,, GOOG-TEX-00124296, at-504
            Google’s 2017 DVAA Strategy Book includes a “Competitive / Ecosystem Analysis” section. Under this heading
            includes                         and “Other exchanges”                                             . A separate “Point
            players” list reads                                                                                                  etc; See
            also GOOG-TEX-00106945, at -991, 2018 Meeting notes which include “…                       (Native focused but buys all
            inventory).” During 2020–2022, the weighted average CPM of a                   transaction ($2.33) was approximately twice
            as high as that of other exchanges ($1.01) in Israel Figure 75 combined. The worldwide weighted average CPM of
            transactions on            is higher than that of 9 of the 10 exchanges in Dr. Israel’s Figure 75:
                                                                                                                   , and Google AdX
            ($0.88).                                      ; its share of impressions was 1% in 2022 (Lee Initial Report, Figure 110).
            It is important to recognize that AdX transacts far more impressions than other ad exchanges, and faces less competition




        HIGHLY CONFIDENTIAL                                                                                                    Page 161
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 59 of 65 PageID#
                                   82769
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 60 of 65 PageID#
                                   82770
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 61 of 65 PageID#
                                   82771
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 62 of 65 PageID#
                                   82772
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 63 of 65 PageID#
                                   82773



       Errata for the February 13, 2024 Expert Rebuttal Report of Robin S. Lee, PhD

    Location                 Original Text                           Corrected Text
   Paragraph 35 In this matter, the strength and         In this matter, the strength and
                importance of indirect effects for       importance of indirect network effects
                customer decisions will tend to vary     for customer decisions will tend to
                across ad tech products and by           vary across ad tech products and by
                direction                                direction
  Paragraph 165 Last, Dr. Israel again points to         Last, Dr. Israel again points to
                purported “multi-homing” and             purported “multi-homing” and
                “substitution” statistics in Prof.       “substitution” statistics in Prof.
                Simonson’s survey, but again neither     Simonson’s survey, but again neither
                support his assertion that advertisers   support his assertion that advertisers
                view app inventory as a close            view instream video inventory as a
                substitute for web inventory             close substitute for web inventory
  Paragraph 176 With respect to the first point, as I    With respect to the first point, as I
                explained above in Section IV.A.3,       explained above in Section IV.A.4,
                simply using two different sales         simply using two different sales
                channels does not equate to close        channels does not equate to close
                substitution between them                substitution between them
  Paragraph 257 Paragraph 257 is formatted as a          For clarity, Paragraph 257 is a block
                paragraph.                               quote from the document cited in
                                                         footnote 417. For convenience, no
                                                         change is made to the paragraph
                                                         numbers.
  Paragraph 315 Paragraph 315 is formatted as a          Paragraph 315 is heading “IV.F” and
                paragraph.                               should read as corrected: “IV.F Dr.
                                                         Dr. Israel’s single two-sided market
                                                         for ad tech tools is not appropriate
                                                         for evaluating the competitive
                                                         effects of Google’s conduct in the ad
                                                         tech stack”

                                                        For convenience, no change is made to
                                                        the paragraph numbers.
  Heading IV.E.3 IV.E.3 A single market for all ad tech Heading IV.E.3 should read as
                 products obscures rather than          corrected: “IV.F.1 A single market for
                 illuminates the relevant competition all ad tech products obscures rather
                                                        than illuminates the relevant
                                                        competition”
  Heading IV.E.4 IV.E.4 Dr. Israel’s proposed           Heading IV.E.4 should read as
                 competitive constraints on             corrected: “IV.F.2 Dr. Israel’s
                 “individual component markets”         proposed competitive constraints on
                 within ad tech do not survive scrutiny “individual component markets”
                                                        within ad tech do not survive scrutiny”



 HIGHLY CONFIDENTIAL – Subject to Protective Order
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 64 of 65 PageID#
                                   82774



  Heading IV.E.5 IV.E.5 Dr. Ghose’s discussion of     Heading IV.E.5 should read as
                 “alternative pathways and tools”     corrected: “IV.F.3 Dr. Ghose’s
                 obscures the central role played by  discussion of “alternative pathways
                 publisher ad servers, ad exchanges,  and tools” obscures the central role
                 and advertiser ad networks           played by publisher ad servers, ad
                                                      exchanges, and advertiser ad
                                                      networks”
   Heading IV.F IV.F Relevant geographic markets      Heading IV.F should read as
                 for publisher ad servers, ad         corrected: “IV.G Relevant geographic
                 exchanges, and advertiser ad         markets for publisher ad servers, ad
                 networks                             exchanges, and advertiser ad
                                                      networks”
  Heading IV.F.1 IV.F.1 Dr. Israel incorrectly        Heading IV.F.1 should read as
                 dismisses the appropriateness of a   corrected: “IV.G.1 Dr. Israel
                 worldwide geographic market          incorrectly dismisses the
                                                      appropriateness of a worldwide
                                                      geographic market”
  Heading IV.F.2 IV.F.2 My conclusions do not change Heading IV.F.2 should read as
                 whether the product markets are      corrected: “IV.G.2 My conclusions do
                 analyzed on a worldwide or US        not change whether the product
                                                      markets are analyzed on a worldwide
                                                      or US basis”
  Paragraph 345 Paragraph 345 is formatted as a       For clarity, Paragraph 345 is a block
                 paragraph.                           quote from the document cited in
                                                      footnote 532. For convenience, no
                                                      change is made to the paragraph
                                                      numbers.
  Paragraph 436 When controlling for changes in the When controlling for changes in the
                 composition of publishers over time, composition of publishers over time,
                 DFP fees remained relatively flat    DFP fees remained relatively flat
                 between August 2014 and March        between February 2014 and March
                 2023                                 2023
  Paragraph 493 Paragraph number 493 is formatted as As corrected, paragraph number 493 is
                 red text.                            properly formatted as black text.
   Appendix A                                         Appendix A begins with “In addition
                                                      to the materials listed below, I
                                                      incorporate by reference all materials
                                                      cited within the footnotes in this report
                                                      and in my initial report and the
                                                      accompanying back up materials.”
  Appendix A.4 GOOG-DOJ-AT-00517933                   GOOG-DOJ-AT-00571933
   Footnote 363 I discuss the flaws with this market  I discuss the flaws with this market
                 below in Section IV.G.               below in Section IV.F.
  Footnote 1022 GOOG-DOJ-AT-00517933, at -934 GOOG-DOJ-AT-00571933, at -934




 HIGHLY CONFIDENTIAL – Subject to Protective Order
Case 1:23-cv-00108-LMB-JFA Document 1132-5 Filed 08/06/24 Page 65 of 65 PageID#
                                   82775
